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    12                     UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
    13
    14   Sound and Color, LLC                    No.: 2:22-cv-01508-AB
                Plaintiff
    15                      v.
    16   Samuel Smith                            Case Filed: March 4, 2022
         Normani Kordei Hamilton
    17   Stargate
    18   Mikkel Storleer Eriksen                 Causes of Action:
         Tor Erik Hermansen                      1. Direct Infringement
    19   James John Napier                       2. Vicarious Infringement
    20   Universal Music Group
         Universal Music Operations Limited      Jury Trial Demanded
    21   UMG Recordings Inc.
    22   Sony Music Group
         Sony Corporation of America
    23   Sony/ATV Music Publishing LLC
    24   Sony/ATV Music Publishing Ltd.
         Sony/ATV Songs LLC
    25   EMI Music Publishing LTD
    26   EMI April Music Inc.
         EMI Blackwood Music Inc.
    27   Downtown Music Publishing LLC
    28   Salli Isaak Songs LTD
         Naughty Words Limited
                                           i
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     1   Songs of NKH
         Stellar Songs Limited
     2
         Stellar Songs
     3   Tim & Danny Music LLC
         45th & 3rd Music LLC
     4
                Defendants
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     1                     PLAINTIFF’S SECOND AMENDED COMPLAINT
     2                                             Introduction
     3            1.     This music copyright infringement suit arises from copying by
     4   defendants Sam Smith (“Smith”) and Normani Kordei Hamilton (“Normani”) of
     5   Plaintiff’s 2015 song “Dancing With a Stranger” (the Plaintiffs’ composition/song
     6   recording shall hereinafter be referred to as the “Song”) to create their hit 2019 song
     7   “Dancing With a Stranger” (the Defendants’ composition/sound recording shall
     8   hereinafter be referred to as the “Infringing Song”) (collectively the “Songs”).
     9            2.     The hook/chorus in both songs—the most significant part and artistic
    10   aspect of these works—contains the lyrics “dancing with a stranger” being sung over
    11   a nearly identical melody and musical composition. In both songs, the title, hook,
    12   chorus, lyrics, and musical composition are all the same—and are repeated throughout
    13   the song giving both songs their identities.
    14            3.     A quick listen to the comparison at the following link, and consideration
    15   of the extraordinary similarities in the music videos, will quickly dispel any doubt that
    16   Plaintiff’s song was copied: https://youtu.be/Ibh1yPSCIw8. See Exhibit 4.1
    17            4.     The Infringing Song is certified Platinum in over ten countries and was
    18   the most-played radio track of 2019 according to several sources. It has been streamed
    19   over 3 billion times as of March 2021 and received well over 3.1 billion audience
    20   impressions from radio airplay just in 2019.
    21                                             Background
    22            5.     In February/March 2015, singer and songwriter Jordan Vincent wrote
    23   “Dancing with a Stranger” (also known as “Dancing With Strangers”), along with
    24   Christopher Miranda of the production duo known as SKX.
    25            6.     SKX is comprised of Christopher Miranda and Rosco Banlaoi, who split
    26   credit and ownership for all SKX songs.
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             Exhibits 4-7 were previously lodged with the Court on March 4, 2022. See Doc. No. 1-4.
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                             PLAINTIFF’S SECOND AMENDED COMPLAINT
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     1          7.    The sound recording and composition therein for Plaintiff’s song is
     2   registered at no. SR0000847699 with the copyright office, attached as Exhibit 1.
     3          8.    In April 2015, Vincent, Miranda, and Banlaoi shot a music video for the
     4   Song, which primarily consisted of a young woman interpretive dancing alone in a
     5   minimalistic room/studio (the “Video”).
     6          9.    After extensively shopping the Song and Video around the industry in
     7   2015 and receiving interest (discussed more below), Vincent posted the Song on
     8   SoundCloud in January 2016. It garnered over 500,000 listens by mid-2018.
     9          10.   It was then released on Vincent’s YouTube channel, Spotify, and other
    10   streaming services on August 30, 2017, where it garnered tens of thousands more
    11   views/listens by mid-2018.
    12          11.   Following this release, Vincent also hired Rayne Music who promoted
    13   the Song and Video to industry contacts in early 2018.
    14          12.   There was interest and Rayne Music had sit down meetings with several
    15   interested parties.
    16          13.   On January 11, 2019, Vincent was alerted by a friend that superstar Sam
    17   Smith and Normani (formerly of the girl group Fifth Harmony) had released a song
    18   entitled “Dancing with A Stranger” earlier that day. The Infringing Song went on to
    19   become a massive hit, which to date has been streamed billions of times and has
    20   billions of additional radio impressions.
    21          14.   It was immediately obvious from the title, lyrics, melody, and overall
    22   production that appears in both songs, especially the hooks, that Defendants had taken
    23   Plaintiff’s work.2
    24          15.   It is beyond any real doubt that Smith, Normani, and the other defendants
    25   copied Plaintiff’s work. The protected expression in both the Infringing Song and
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             When a song or work is referred to the reference includes both the composition
    28
             and sound recording unless otherwise specified.
                                                   2
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     1   Plaintiff’s preexisting work is nearly identical and is strikingly similar.
     2         16.    It is a common practice in music production to take a reference track and
     3   speed it up or slow it down; this results in a natural pitch shift which places it in a
     4   different key more suited to a particular singer. Tellingly, when Plaintiff’s song is
     5   slowed down from 122 bpm to the 103 bpm used by the Infringing Song, the key of
     6   the two songs match. This is a further indication that Plaintiff’s song was copied by
     7   Defendants and that they are substantially similar.
     8         17.    When the songs are compared, it is apparent that the underlying
     9   composition is nearly identical and was copied, as was the sound recording:
    10   https://youtu.be/Ibh1yPSCIw8. A copy of the side-by-side comparison video of the
    11   sound recordings shall be lodged with the court as Exhibit 4.
    12         18.    In addition to the “hook” of the songs being the same musical phrase,
    13   arranged with the same title and lyrics, Smith and Normani put out a music video for
    14   the song which is very similar to Plaintiff’s music video. Compare Plaintiff’s Video
    15   https://www.youtube.com/watch?v=JGYBUkvT3cU               with     Defendants’   Video,
    16   https://www.youtube.com/watch?v=av5JD1dfj_c. A true and correct copy of the
    17   Plaintiff’s music video shall be lodged with the court as Exhibit 5. A true and correct
    18   copy of the Defendants’ music video shall also be lodged with the court as Exhibit 6.
    19         19.    A true and correct copy of Plaintiff’s Registered Deposit Copy Sound
    20   Recording shall be lodged with the court as Exhibit 7.
    21         20.    Both videos consist of a girl performing interpretive dance alone in a
    22   minimalist studio, interspersed with shots of the male vocalist:
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    26   [left intentionally blank]
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     1                                      Plaintiff’s video:
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    10                                    Defendants’ Video:
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    18         21.      A girl dancing alone is not an obvious visual theme for a music video
    19   titled “Dancing With a Stranger,” tending to dispel any notion that this similarity is a
    20   coincidence.
    21         22.      When the extraordinary musical similarity between the songs is also
    22   factored in, it becomes even more apparent that it is impossible that the infringing
    23   composition and sound recording were independently created.
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    26   [left intentionally blank]
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                          PLAINTIFF’S SECOND AMENDED COMPLAINT
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     1          23.      Bizarrely, the graphic logo for Defendants’ video is practically identical
     2   in design to the logo on Vincent’s business card:
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    16          24.      Another suspicious coincidence is that the call sheet for Plaintiff’s music
    17   video specifically mentioned using the visual concept of mannequins coming to life.
    18          25.      Although this concept was not ultimately utilized in Plaintiff’s music
    19   video, Normani and the director of Defendants’ music video gave an interview in 2019
    20   discussing how Defendants wanted to use porcelain statues coming to life for their
    21   music video. The odds that such a unique but highly similar idea would have come
    22   independently to Defendants are astronomical, especially considering the other shared
    23   similarities.
    24          26.      Plaintiff is not claiming copyright infringement of the visual content of
    25   Plaintiff’s video (or infringement of Vincent’s logo) but it is evidence to dispel the
    26   possibility of independent creation.
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                           PLAINTIFF’S SECOND AMENDED COMPLAINT
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     1                            Alleged Creation of Defendants’ Song
     2         27.      In late January 2019, after the Infringing Song was released to the
     3   public on January 11, 2019, defendant Smith stated in an interview with Beats Radio
     4   that he wrote the Infringing Song in one day with Stargate at The Stellar House
     5   studio during a break from his 2018 tour: “And she [Normani] was coming in that
     6   day to have a meeting with Tim [Blacksmith]. I played her the song. She just jumped
     7   on it there and then, and it was perfect.”
     8   https://www.youtube.com/watch?v=nRREIlYUv1k&feature=youtu.be&t=138, at
     9   minute 2:18.
    10          28. Smith claims that Normani and Smith were introduced that day and that
    11   Normani then spontaneously contributed to existing music Smith was working on.
    12   The day is believed to be on or around August 7, 2018.
    13          29. Upon information and belief, Normani’s presence at the studio and work
    14   with Sam Smith were not spontaneous nor coincidental.
    15          30. In May 2020, Normani referenced upcoming collaborations in an
    16   interview. https://www.dailymotion.com/video/x6jydyz. Further bolstering this
    17   conclusion is the fact that planned social media and press exposure took place in the
    18   form of social media postings by Normani’s manager on or around August 8, 2018,
    19   when the Infringing Song was allegedly written, promoting Smith and Normani
    20   working together, and music industry news outlets also reported on a Smith-Normani
    21   collaboration in late-summer, early fall 2018.
    22                         Defendants’ Had Access to Plaintiff’s Song
    23         31.      “Access” can and will be proven in several different ways:
    24         32.      First, the songs are musically strikingly similar, i.e. independent creation
    25   is extremely unlikely, especially when factoring in the selection and arrangement of
    26   the lyrics, melody, and hook.
    27          33. Attached as Exhibit 2 is the Report of Dr. Alexander Stewart, opining
    28   that the similarities in the music and the selection and arrangement of the music,
                                              6
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     1   production, lyrics, and other elements of the works make independent creation
     2   extremely unlikely.
     3          34. Furthermore, it is impossible that the combined similarities between the
     4   songs outside of the musical elements—same title, same video, same logo, proposed
     5   use of mannequins—all occurred coincidentally. These similarities further preclude
     6   independent creation.
     7         35.    Second, Defendants had access to Plaintiff’s Song because it was widely
     8   distributed. Not only was Plaintiff’s Song widely “shopped” around the music
     9   industry from 2015 to 2018, but Jordan Vincent released the song publicly on
    10   SoundCloud in January 2016, and posted the Song and Video on his YouTube channel
    11   and also on Spotify, Apple Music, Tidal, Deezer, and other platforms on or around
    12   August 30, 2017. The SoundCloud posting alone accrued over 500,000 listens by mid-
    13   2018, and tens of thousands of additional views/listens on YouTube and other
    14   platforms. The fact that Plaintiff’s song received over half a million views/listens
    15   before the Infringing Song was allegedly composed in August 2018 establishes access
    16   by Defendants to Plaintiff’s work due to its sufficiently widespread distribution.
    17     Defendants’ Had Access to Plaintiff’s Song through Thrive Records; Thrive
    18   was Given Plaintiff’s Song in 2015 and then, After Defendants’ Infringing Song
    19                   was Released, Tried to Buy Plaintiff’s Song in 2020
    20         36.    Third, in the alternative, Plaintiff alleges that the Song was given to
    21   Defendants by and through Thrive Records. In 2015, Thrive Records was extremely
    22   interested in using Plaintiff’s Song for another artist, but the deal never went through.
    23   Thrive is owned by Ricardo Vinas, and the contacts were facilitated by Peter Torres,
    24   who was either employed by Thrive at that time or helping Vinas acquire the Song.
    25   Thrive was also shown the Video and also given the call sheet for the Video.
    26         37.    Thrive showed no further interest in the song in 2015.
    27         38.    Then, in May/June 2020, Peter Torres reached out to the trio out of the
    28   blue on behalf of Ricardo Vinas, Thrive’s owner. Torres was acting as an agent of
                                            7
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   1   Ricardo and Thrive. Thrive stated that it wanted to buy Plaintiff’s Song—now five
   2   years after Thrive was first interested. Thrive had shown no interest during that
   3   intervening time period. This timing is highly unusual.
   4          39.      Thrive now wanted to give Vincent, Miranda, and Banlaoi around $3,000
   5   as an advance and some publishing rights. There, however, was a curious caveat:
   6   Thrive and Ricardo wanted all traces of Plaintiff’s Song and Video removed from all
   7   platforms before the deal was consummated.
   8          40.      All of this was bizarre as Thrive had passed on the Song in 2015, and had
   9   now contacted Vincent, Miranda, and Banlaoi out of the blue in May/June 2020 as if
 10    with an agenda or goal in mind.
 11           41.      Vincent asked Torres why Thrive was interested given that it was five
 12    years later; Torres said only that Ricardo had been listening to old songs.
 13           42.      This is not credible, because half a decade in music industry terms is a
 14    huge amount of time, when multitudes of new songs are being pushed by thousands
 15    of writers and artists every day to labels. Moreover, not only had Thrive passed on
 16    Plaintiff’s Song, but it was now stale and had already been released for four years.
 17           43.      Vincent asked Torres if Ricardo was aware of the Infringing Song and
 18    the similarities, and Torres admitted that Ricardo was aware of the similar titles, but
 19    that he was unaware of whether Ricardo knew about the melodic similarities.
 20           44.      This story does not make sense. Ricardo clearly knew the melodies and
 21    lyrics are the same because the Infringing Song was a huge hit with which Ricardo
 22    must have been familiar, and by Torres’s own admission Ricardo had recently listened
 23    to Plaintiff’s Song and wanted to buy the rights. Ricardo knew about the pronounced
 24    similarities.
 25           45.      If Ricardo and Torres had spoken about the similar titles of the two songs
 26    called Dancing With a Stranger, as Torres admits they did, then it is perfectly obvious
 27    that Thrive was aware of the other similarities.
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   1         46.    That Thrive misled Vincent, Miranda, and Banlaoi about whether Thrive
   2   knew about the similarities between the two songs indicates a hidden agenda behind
   3   the sudden and otherwise inexplicable decision to buy Plaintiff’s Song 5 years later.
   4         47.    Torres also probed whether Vincent, Miranda, and Banlaoi had taken
   5   legal action; when they said no, Torres insisted that they should just let Thrive and
   6   Ricardo put some money in their pockets and that suing was expensive. This, too, was
   7   very suspicious.
   8         48.    Vincent asked for a proposed contract as a demonstration of good faith.
   9   Thrive and Ricardo never sent the contract and Plaintiff’s Song was never taken down;
 10    they heard nothing further from Thrive despite multiple attempts to follow up in June
 11    and early July 2020.
 12          49.    As described below, Ricardo /Torres and Normani’s team know each
 13    other, and the fact that Ricardo attempted to buy Plaintiff’s Song after the fact
 14    knowing full well about its similarities to a major hit by Normani and Sam Smith,
 15    indicate that Defendants were well aware of Plaintiff’s Song, and had access to same.
 16          50.    Plaintiff alleges that Thrive and/or its agents gave their Song to
 17    Defendants and/or told them where it could be found prior to the Infringing Song’s
 18    creation, and that Defendants had access in this way.
 19          51.    Following this bizarre exchange and Thrive’s subsequent nonresponses,
 20    Miranda and Banlaoi were at a party at Avex House studio on July 24, 2020, and
 21    randomly saw Peter Torres. Torres was at that point employed by Avex House as head
 22    of A&R. Ricardo Vinas also was present and reacted awkwardly when he saw that
 23    Miranda and Banlaoi were there. At one point during the party, Torres pointed out to
 24    the duo that Normani’s manager Brandon Silverstein and his partner Josh Hallbauer
 25    were present; Torres was obviously acquainted with Silverstein.
 26          52.    Upon information and belief, Thrive and Ricardo are also acquainted
 27    with Silverstein, as well as Tim Blacksmith (Normani’s mentor, owner of Stellar
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   1   House Studio, and principal member of defendant Tim & Danny) and defendants
   2   Eriksen, Hermansen, Napier and Smith.
   3           53. The foregoing individuals (i.e., Silverstein, Blacksmith, Eriksen,
   4   Hermansen, Napier, and Smith) were all intimately involved in the alleged creation
   5   of Infringing Song and are alleged to have had access to Plaintiff’s Song through
   6   Thrive.
   7           54.   Fifth, in the alternative, defendant Normani was given the Song by Jared
   8   Cotter. Normani used to be in the girl band Fifth Harmony. When the Plaintiff’s
   9   assignors were shopping the Song in September 2015 to Thrive Records, Jared Cotter
 10    was managing the prospective deal for the Plaintiff’s assignors and received the Song
 11    and Video as part of facilitating the deal (which eventually fell through).
 12            55.   Just two weeks later Cotter posted on social media that he was working
 13    with Normani and Fifth Harmony in the studio.
 14            56.   Cotter is reasonably believed to have given Normani the Song during that
 15    time.
 16            57.   Cotter, it should be noted, co-manages the artist, Bazzi, along with
 17    Normani’s manager, Brandon Silverstein.
 18            58.   Sixth, in the alternative, access to Plaintiff’s Song is demonstrated by
 19    Defendants’ use and mention of the ideas used and considered in the creation of
 20    Plaintiff’s music video. Vincent, Miranda, and Banlaoi created the concept of a
 21    woman interpretive dancing alone, which was counterintuitive and unique given the
 22    title of the music video “Dancing With a Stranger”. Nothing about this theme or motif
 23    is suggested by the title or lyrics of Plaintiff or Defendants’ songs.
 24            59.   Furthermore, during the creative process the Plaintiff’s assignors created
 25    call sheets which discussed using the idea of portraying lifeless mannequins coming
 26    to life. This idea, too, is unique and not suggested by the title or lyrics of the song. In
 27    fact, it is a creative and bizarre concept. Moreover, it was not used in the video. Only
 28    a limited number of people had access to the call sheet.
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   1          60.    The Video released by Defendants for their Infringing Song is
   2   thematically and visually similar to Plaintiff’s video. It, too, features a lone woman
   3   performing interpretative dance, interspersed with shots of a male vocalist. When
   4   viewed along with the musical, lyrical, and title similarities, the possibility of
   5   independent creation is extremely unlikely.
   6          61.    Further proof of access comes from an interview comment by Normani
   7   and the director of Defendants’ music video, Vaughan Arnell, that Defendants had
   8   considered using porcelain statues coming to life in the music video—just as the trio
   9   had wanted to do with mannequins. Plaintiff alleges that it is not possible that these
 10    commonalities, especially in combination, are the product of coincidence.
 11           62.    As a result of Defendants’ exploitation of Plaintiff’s song without
 12    permission, they obtained a massive international hit single which generated
 13    significant revenue and profits.
 14           63.    Defendants’ representatives were contacted in November 2020 about the
 15    similarities. Defendants were given every chance to come up with an innocent
 16    explanation, but, despite assurances that a response was coming including a
 17    musicological analysis and report, the Defendants never issued a response. This suit
 18    is being filed as a last resort.
 19                          SONY INTERCOMPANY AGREEMENT
 20           64.     US-based Sony Music Publishing’s website indicates that Sony’s
 21    foreign subsidiaries are departments and divisions of Sony:
 22                  Sony Music Publishing’s administration services utilize a
 23                  worldwide network of local creative and administrative teams,
 24                  giving its clients both global reach and a personal touch. Its
 25                  songwriters and their representatives are able to obtain
 26                  administrative support in their own territory directly from local
 27                  administration staff, all of whom are experts in their field, have
 28                  a passion for the music they represent, and are able to utilize their
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   1                   close relationships with the relevant societies and their
   2                   colleagues to accurately register songs and collect royalties.
   3   https://www.sonymusicpub.com/en/services
   4             65.   Sony’s Form 20-F for FY ending March 31, 2022, indicates that its music
   5   publishing arm is “a US-based music publishing business that owns and acquires right
   6   sot musical compositions, exploiting and marketing those compositions and receiving
   7   royalties or fees for their use.” The referenced music publishing business includes its
   8   foreign subsidiaries, including EMI Music Publishing UK and Sony/ATV Music
   9   Publishing (UK) Ltd.
 10              66.   Sony has an intercompany agreement whereby its divisions or
 11    subsidiaries in particular territories will administer and exploit a copyright in their
 12    territory on behalf of publishers or subsidiaries. See Doc. No. 76-1, at p.10 (appointing
 13    and granting of rights), also attached as Exhibit 8. The parties to the agreement “own,
 14    control or manage and will hereafter own, control or manage” the covered works. Id.
 15    at p.6.
 16              67.   The agreement is entered into in the state of New York. Id. at p.15-16.
 17    The agreement states that the parties exclusively avail themselves of New York law,
 18    jurisdiction, and venue. Id. It specifically lists the United States as a target area for
 19    exploitation, id. at p.32-34, and that market is in fact the biggest and most developed
 20    market for exploitation
 21              68.   This agreement specifically requires the extensive exploitation of
 22    covered works in the United States for publishers. Id. at p.32-33. The intercompany
 23    agreement states that exploitation must be aggressively pursued in all target
 24    territories, including the United States, for the benefit of the “Publisher and all third
 25    parties connected with them,” as well as the prompt collection of all royalties and fees.
 26    Id. at p.16. It can be terminated at the request of any publisher by written notice. Id.
 27    at p.11. It also requires the registration of the work with the applicable copyright
 28    authorities and collection agencies. Id. at p.15.
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   1          69.      The following definitions further illustrate that the Sony Intercompany
   2   agreement contemplates extensive exploitation of Sony’s songs, and of those songs
   3   that Sony administers because of third party contracts with other publishers:
   4                   "Intellectual Property Rights" or "IPR" means any intellectual
   5                   property or associated rights, literary, artistic or musical
   6                   materials, including, but not limited to Compositions and Master
   7                   Recordings owned, controlled, administered or managed by the
   8                   Publisher respectively directly or indirectly through a subsidiary
   9                   or other affiliate and/or a third party at the commencement of the
 10                    Term or so acquired (or re-acquired) by the Publisher as
 11                    appropriate during the Term subject always to the termination of
 12                    any rights therein by any IPR Holder by way of contract or
 13                    otherwise or any rights flowing to the IPR Agreements excluding
 14                    "Neighboring Rights" and "Library Music" as defined,
 15                    respectively, in the following sentences.
 16
 17                    "Neighbouring Rights" means those rights granted to a Publisher,
 18                    pursuant to an agreement between a Publisher and a third party
 19                    performer and/or master recording owner, to authorize the public
 20                    performance via any and all means of recorded performances
 21                    and/or master recordings and/or to receive remuneration in
 22                    respect of the same.
 23
 24                    "Library   Music"      means   recorded     music   and   musical
 25                    compositions licensed to customers for use in film, television,
 26                    radio and other media which is to be specifically exploited as
 27                    production music.
 28    Id. at p.7-8.
                                           13
                         PLAINTIFF’S SECOND AMENDED COMPLAINT
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   1         70.    This intercompany agreement establishes that Sony has instructed and
   2   contracted for its various subsidiaries to act as agents for the protection and
   3   exploitation of the songs it administers in the United States, and around the world,
   4   including for third party publishers who contract with a Sony entity for Sony to
   5   administer the song. Again, by far the largest market referenced in the agreement is
   6   the United States.
   7         71.    Any publisher or person contracting with a Sony entity would be well
   8   aware of this agreement, and would intend Sony to exploit the relevant intellectual
   9   property in the biggest music market in the world, the United States.
 10          72.    The type of exploitation expected is extensive. The intercompany
 11    agreement defines digital rights as:
 12                 the right to issue licenses in respect of performing (making
 13                 available) and/or reproduction rights for exploitation (streaming,
 14                 downloading and/or otherwise) on the Internet or other means of
 15                 online and/or mobile digital delivery of the IPRs with or without
 16                 any associated data such as text and/or still or moving visual
 17                 images and shall include all digital transcriptions, duplications,
 18                 encoding or any other method, now known or hereafter devised,
 19                 which can now or may be used to duplicate, distribute, copy or
 20                 perform publicly the said IPR via digital means including, but
 21                 not limited to, streaming and/or downloading (as such terms are
 22                 customarily used in the industry), ringtones, videos (user
 23                 generated or otherwise), karaoke or otherwise and shall include
 24                 distribution by means of automated retailing systems which use
 25                 the Internet, the World Wide Web, any wireless satellite or
 26                 mobile telephone transfer or electronic bulletin board services to
 27                 distribute and/or sell music product or any similar means of
 28                 distribution.
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   1   Id. at p.6-7. It is alleged that Defendants in fact acted in accordance with this
   2   agreement and exploited Defendants’ song in all the listed ways.
   3         73.      The grant of rights for each subsidiary to act as an agent of the publisher
   4   and the other Sony entities is extremely broad. Id. at p.25-26 - Schedule 1 (Sub
   5   Publishing Rights) and Schedule 2 (Master Rights).
   6          74. The grant of rights is not just for extant compositions, but is specifically
   7   understood by all parties and publishers to encompass “all rights of copyright and
   8   related rights in each of the Compositions whether now known or in the future created
   9   owned, controlled, administered or managed by the Publisher.” Id. at p.25.
 10          75.      The Defendant entities this agreement explicitly applies to are Sony/ATV
 11    Music Publishing LLC, Sony/ATV Music Publishing (UK) Ltd., EMI Music
 12    Publishing (UK) Ltd, EMI April Music Inc., and EMI Blackwood Music Inc. Of note,
 13    the EMI entities were fully purchased as of 2018 by Sony.
 14          76.      Sony/ATV Songs LLC is also alleged to be controlled by this agreement
 15    because it effectuates the purpose of this agreement by serving as an agent for Naughty
 16    Words Limited with performing rights organizations, including BMI.
 17          77.      Other entities to which this agreement applies are Naughty Words
 18    Limited (Sam Smith’s publishing entities), and Stellar Songs Limited and Stellar
 19    Songs (Eriksen and Hemansen’s publishing entities). These entities are alleged to have
 20    agreements with Sony Music Publishing, or a subsidiary, and to have rights and
 21    expectations under the Intercompany Agreement. Note that each of these entities has
 22    given an express license to the Sony entities to exploit Defendants’ song, showing that
 23    they know of the infringing activity.
 24                                TYPES OF INFRINGEMENT
 25          78.      Defendants’ song has been exploited heavily in the United States, and
 26    around the world. It has been streamed billions of times on streaming services. It has
 27    been performed many times in concerts, and on TV. It has been played on the radio
 28    and covered.
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   1            79.    Note that any one defendant could be directly liable for one type of
   2   infringement (e.g., publishing sheet music) but vicariously liable for another type of
   3   infringement (e.g., licensing the song for use on streaming services)
   4            80.    CREATION OF THE SONG - As described throughout this complaint,
   5   defendants Sam Smith, Normani Hamilton, James Napier, Mikkel Eriksen, and Tor
   6   Hermansen (also known as Stargate) are the authors of Defendants’ song. Defendants
   7   Tim & Danny and 45th and 3rd are the executive producer and producer of
   8   Defendant’s song. See Exhibit 3. These actions make them directly liable for
   9   copyright as they participated in copying Plaintiff’s work.
 10             81.    LICENSING - Defendants’ licensing of Defendants’ song—giving
 11    permission to others to use it—is a basis for infringement.
 12             82.    Defendants licensed Defendants’ song for performance and/or
 13    reproduction on streaming services and other websites, radio stations, at venues, and
 14    by all the other methods and types of exploitation identified in the Sony intercompany
 15    agreement. See Doc. No. 76-1, at p.6-8.
 16              83. The YouTube and Spotify profiles for Defendants’ song identify those
 17        Defendants who licensed the song online and for performance, as does sheet music,
 18        and were therefore aware that the song was being exploited. See Exhibit 9 and 11.
 19        The same licensing occurred for all other online or public performances on all other
 20        streaming services or radio play.
 21              84. The Defendants referenced on the streaming services as licensors are
 22        Universal Music Group, UMG Recordings (dba as Capitol Records), and Sony Music
 23        Publishing.3 See Exhibit 9.
 24
 25    3
           Sony Music Publishing refers to defendant Sony/ATV Music Publishing LLC. This
           complaint establishes via the Intercompany Agreement that the following entities
 26        use Sony Music Publishing to exploit Defendants’ song in the United States and
           abroad, and that Sony Music Publishing is licensing Defendants’ song for these
 27        entities (or by and through them): Sony/ATV Music Publishing LLC, Sony Music
           Publishing (UK) Ltd, Sony/ATV Songs, LLC, EMI Music Publishing (UK), EMI
 28        April Music Inc., EMI Blackwood Music Inc., Naughty Words Limited, and Stellar
           Songs Limited.
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   1          85. The Defendants listed on the sheet music as owning and licensing
   2   Defendants’ composition are Salli Isaak Songs Ltd, Songs of NKH, Stellar Songs
   3   Limited, EMI Blackwood Music Inc, Naughty Words Limited, Downton Music UK
   4   Limited, EMI Music Publishing Ltd, and Sony/ATV Music Publishing (UK) Ltd. See
   5   Exhibit 11.
   6         86.     The Defendants who engaged in this licensing activity are alleged to be
   7   directly infringing in that they licensed the allegedly infringing work to performed
   8   and reproduced without authorization by Plaintiff.
   9         87.     In the alternative, if such licensing is not direct infringement, then it is
 10    alleged to be vicarious infringement (because Defendants are receiving monies as a
 11    result as a result of the infringement, and have the ability as the licensor to stop the
 12    infringement but are not doing so).
 13          88.     ADMINSTERING AND PUBLISHING - Administering and
 14    publishing a copyright—the marketing, promotion, and exploitation of musical
 15    compositions, as well as the collection and management of royalties—is a basis for
 16    copyright infringement.
 17          89.     Defendants administer and act as publishers or sub-publishers of
 18    Defendants’ song for the purpose of exploiting the song via reproduction on streaming
 19    services and other websites, radio stations, and at venues, and all the other methods
 20    and types of exploitation identified in the Sony intercompany agreement. See Doc.
 21    No. 76-1, at p.6-8.
 22          90.     The YouTube profile for Defendants’ song identifies those Defendants
 23    who administered or acted as publisher for the song online, and also via sheet music,
 24    and were therefore aware that the song was being exploited. See Exhibits 9 and 11.
 25    The same administration and publishing occurred for all other online or public
 26    performances on all other streaming services or radio play.
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   1            91.   The YouTube video identifies Sony Music Publishing as having
   2   provided a license, which it is able to do as an administrator and publisher of the song.4
   3            92.   The Defendants listed on the sheet music as owning and licensing the
   4   composition are Salli Isaak Songs Ltd, Songs of NKH, Stellar Songs Limited, EMI
   5   Blackwood Music Inc., Naughty Words Limited, Downton Music UK Limited, EMI
   6   Music Publishing Ltd, and Sony/ATV Music Publishing (UK) Ltd.
   7            93.   The Defendants who engaged in this administration and publishing
   8   activity are alleged to be directly infringing in that they promoted the exploitation of
   9   the allegedly infringing work, and collected royalties for the performance and
 10    reproduction of the work. The sine qua non of publishing and administering a
 11    copyright is to make sure that it is reproduced, performed, and generates as much
 12    revenue as possible for the publishers and other interested entities.
 13             94.   In the alternative, if such administration and publishing is not direct
 14    infringement, then it is alleged to be vicarious infringement (because Defendants are
 15    receiving monies as a result as a result of the infringement, and have the ability as the
 16    licensor to stop the infringement but are not doing so).
 17             95.   All Defendants, as licensors, administrators, or publishers would be
 18    aware of the conduct targeting the US market because their assent is necessary to the
 19    exploitation of the song, and their participation is required for collection of the
 20    royalties.
 21             96.   All Defendants are owners of the song and therefore receive monies for
 22    the exploitation of the song, see Exhibit 3, and/or are licensors, administrators, and/or
 23    publishers of the song in question and receive financial remuneration because of the
 24    exploiting of Defendants’ allegedly infringing song.
 25
 26    4
            Note that this complaint establishes that the following entities use Sony Music
           Publishing to exploit Defendants’ song in the United States and abroad, and that
 27        Sony Music Publishing is administering and acting as a publisher for these entities
           or by and through them: Sony/ATV Music Publishing LLC, Sony Music Publishing
 28        (UK) Ltd, Sony/ATV Songs, LLC, EMI Music Publishing (UK), EMI April Music
           Inc., EMI Blackwood Music Inc., and Naughty Words Limited
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   1                                    THE PARTIES
   2   I.    Plaintiff
   3         A.     Sound and Color, LLC (“Sound and Color” or “Plaintiff”)
   4         97.    Plaintiff Sound and Color, LLC is a Pennsylvania limited liability
   5   company, which owns all rights and interests in Plaintiff’s Song, including the music
   6   composition copyright and sound recording copyright.
   7         98.    In February/March 2015, singer and songwriter Jordan Vincent wrote
   8   “Dancing with a Stranger” (also known as “Dancing With Strangers”), along with
   9   Christopher Miranda of the production duo known as SKX.
 10          99.    “Dancing with a Stranger” is a novel and original creation—especially in
 11    the selection and arrangement of the musical composition and lyrics in the
 12    hook/chorus—and was fixed in a tangible medium in 2015.
 13          100. Vincent, Miranda, and Banlaoi have transferred all of their ownership
 14    and copyright interest in the music composition and sound recording to plaintiff entity
 15    Sound and Color, LLC, which is the owner of the song. The assignment is in the
 16    process of being recorded with the Copyright Office to update its current ownership.
 17          101. Vincent, Miranda, and Banlaoi are the owners of Sound and Color, LLC.
 18    II.   Defendants
 19          A.     Samuel Smith (“Smith”)
 20          102. Sam Smith is a recording artist who resides in Los Angeles, CA and
 21    London, UK.
 22          103. Defendant Smith co-authored and owns the infringing song “Dancing
 23    With a Stranger.”
 24          104. Defendant Smith directly infringed Plaintiff’s Song by duplicating it,
 25    copying it, creating derivative works, publicly performing it, and otherwise
 26    reproducing and exploiting it without authorization.
 27          105. At all points Defendant Smith had the right and ability to control or stop
 28    the infringing conduct but failed to do so.
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   1         106. At all points as a co-author and co-owner of the Infringing Song
   2   Defendant Smith participated in the infringement by, including but not limited to,
   3   promoting, distributing, and selling the infringing song “Dancing With a Stranger”
   4   and/or permitting its use. This includes by licensing the song’s use, or allowing the
   5   same, on streaming and digital download services such as Spotify, YouTube, Pandora,
   6   Amazon, iTunes, and others.
   7         107. Defendant has received significant financial benefits as a result of the
   8   infringement.
   9         108. Although Smith has publicly claimed that he wrote the Infringing Song
 10    in a day in August 2018, giving the impression he wrote the song from his own
 11    creativity, this is not consistent with how he and his team typically create music.
 12          109. In reality most of the songs he “writes” are collaborative efforts, as
 13    indicated by the five credited authors on “Dancing With a Stranger,” including
 14    defendants Eriksen, Hermansen, and Napier. These collaborative writing efforts
 15    typically include using preexisting pieces of music to create songs.
 16          110. The songwriting process used by Smith and his team is relevant to how
 17    the Infringing Song was allegedly created, especially where existing music is typically
 18    used by Smith and his co-authors to create new songs.
 19          111. For instance, Smith and Napier wrote a song in or around 2014 called
 20    “Stay With Me.” The melody was highly similar to Tom Petty’s famous “I Won’t
 21    Back Down,” leading to infringement allegations by Petty against Smith.
 22          112. Although Smith (dubiously) denied ever hearing the famous song before
 23    writing “Stay With Me,” there is little doubt that his co-authors and team had heard it
 24    and that it influenced the writing of Smith’s song.
 25          113. Restated, Smith does not typically create songs on his own and by
 26    himself as he often states and implies, but instead the original musical ideas typically
 27    come from other sources.
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   1         114. The significance is that Defendants’ songwriting process discredits
   2   Smith’s public statements implying he wrote “Dancing With a Stranger” in a day, and
   3   also indicates that preexisting music (i.e. Plaintiff’s Song) was used to create it.
   4         B.     Normani Kordei Hamilton (“Normani”)
   5         115. Normani Kordei Hamilton is a singer songwriter who upon information
   6   and belief resides in Los Angeles, CA and Texas.
   7         116. Defendant Normani co-authored and co-owns the infringing song
   8   “Dancing With a Stranger.”
   9         117. Defendant Normani directly infringed Plaintiff’s Song by duplicating it,
 10    copying it, creating derivative works, publicly performing it, and otherwise
 11    reproducing and exploiting it without authorization.
 12          118. At all points Defendant Normani had the right and ability to control or
 13    stop the infringing conduct but failed to do so.
 14          119. At all points as a co-author and co-owner of the Infringing Song
 15    Defendant Normani participated in the infringement by, including but not limited to,
 16    promoting, distributing, and selling the infringing song “Dancing With a Stranger”
 17    and/or permitting its use. This includes by licensing the song’s use, or allowing the
 18    same, on streaming and digital download services such as Spotify, YouTube, Pandora,
 19    Amazon, iTunes, and others.
 20          120. Defendant Normani has received significant financial benefits as a result
 21    of the infringement.
 22          C.     Stargate (“Stargate”)
 23          121.    Stargate is a production duo composed of Mikkel Eriksen and Tor
 24    Hermansen.
 25          122. Upon information and belief it is an entity of unknown form.
 26          123. Defendant Stargate co-authored and co-owns the Infringing Song
 27    “Dancing With a Stranger.”
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   1         124. Defendant Stargate, by and through Eriksen and Hermansen, directly
   2   infringed Plaintiff’s Song by duplicating it, copying it, creating derivative works,
   3   publicly performing it, and otherwise reproducing and exploiting it without
   4   authorization.
   5         125. At all points Defendant Stargate had the right and ability to control or
   6   stop the infringing conduct but failed to do so.
   7         126. At all points as a co-author and co-owner of the Infringing Song
   8   Defendant Stargate participated in the infringement by, including but not limited to,
   9   promoting, distributing, and selling the infringing song “Dancing With a Stranger”
 10    and/or permitting its use. This includes by licensing the song’s use, or allowing the
 11    same, on streaming and digital download services such as Spotify, YouTube, Pandora,
 12    Amazon, iTunes, and others.
 13          127. Defendant Stargate has received significant financial benefits as a result
 14    of the infringement.
 15          D.     Mikkel Storleer Eriksen (“Eriksen”)
 16          128. Mikkel Storleer Eriksen is a songwriter residing in Los Angeles, CA.
 17          129. Defendant Eriksen co-authored and co-owns the Infringing Song
 18    “Dancing With a Stranger.”
 19          130. Defendant Eriksen directly infringed Plaintiff’s Song by duplicating it,
 20    copying it, creating derivative works, publicly performing it, and otherwise
 21    reproducing and exploiting it without authorization.
 22          131. At all points Defendant Eriksen had the right and ability to control or
 23    stop the infringing conduct but failed to do so.
 24          132. At all points as a co-author and co-owner of the infringing song
 25    Defendant Eriksen participated in the infringement by, including but not limited to,
 26    promoting, distributing, and selling the infringing song “Dancing With a Stranger”
 27    and/or permitting its use. This includes by licensing the song’s use, or allowing the
 28    same, on streaming and digital download services such as Spotify, YouTube, Pandora,
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   1   Amazon, iTunes, and others.
   2         133. Defendant Eriksen has received significant financial benefits as a result
   3   of the infringement.
   4         E.     Tor Erik Hermansen (“Hermansen”)
   5         134. Tor Erik Hermansen is a songwriter residing in or around Los Angeles,
   6   CA.
   7         135. Defendant Hermansen co-authored and co-owns the Infringing Song
   8   “Dancing With a Stranger.”
   9         136. Defendant Hermansen directly infringed Plaintiff’s Song by duplicating
 10    it, copying it, creating derivative works, publicly performing it, and otherwise
 11    reproducing and exploiting it without authorization.
 12          137. At all points Defendant Hermansen had the right and ability to control or
 13    stop the infringing conduct but failed to do so.
 14          138. At all points as a co-author and co-owner of the infringing song
 15    Defendant Hermansen participated in the infringement by, including but not limited
 16    to, promoting, distributing, and selling the infringing song “Dancing With a Stranger”
 17    and/or permitting its use. This includes by licensing the song’s use, or allowing the
 18    same, on streaming and digital download services such as Spotify, YouTube, Pandora,
 19    Amazon, iTunes, and others.
 20          139. As an owner of the infringing copyright Defendant has received
 21    significant financial benefits as a result of the infringement.
 22          F.     James John Napier aka Jimmy Napes (“Napier”)
 23          140. James John Napier is a British songwriter residing upon information and
 24    belief in the United Kingdom and Los Angeles, CA.
 25          141. Defendant Napier co-authored and co-owns the Infringing Song
 26    “Dancing With a Stranger.”
 27          142. Defendant Napier directly infringed Plaintiff’s Song by duplicating it,
 28    copying it, creating derivative works, publicly performing it, and otherwise
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   1   reproducing and exploiting it without authorization.
   2         143. At all points Defendant Napier had the right and ability to control or stop
   3   the infringing conduct but failed to do so.
   4         144. At all points as a co-author and co-owner of the infringing song
   5   Defendant Napier participated in the infringement by, including but not limited to,
   6   promoting, distributing, and selling the infringing song “Dancing With a Stranger”
   7   and/or permitting its use. This includes by licensing the song’s use, or allowing the
   8   same, on streaming and digital download services such as Spotify, YouTube, Pandora,
   9   Amazon, iTunes, and others.
 10          145. As an owner of the infringing copyright Defendant has received
 11    significant financial benefits as a result of the infringement.
 12          G.     EMI Music Publishing LTD (“EMI Music Publishing”)
 13          146. EMI Music Publishing is owned by Sony/ATV Music Publishing LLC
 14    (which states that it has changed its name to Sony Music Publishing (US) LLC) which
 15    is doing business as Sony Music Publishing.
 16          147. Defendant EMI Music Publishing co-owns and/or publishes and/or
 17    administers the Infringing Song “Dancing With a Stranger,” at least in part.
 18    Defendants state that EMI owns at least 24.75% of the composition of Defendants’
 19    song. Plaintiff is not aware of how the remaining ownership breaks down.
 20          148. Defendant is listed as a copyright claimant on the registration for
 21    Defendants’ song. See Exhibit 3.
 22          149. The Sony Defendants acquired a controlling interest in EMI Music
 23    Publishing LTD and other EMI entities in 2011.
 24          150. “Simultaneously with this acquisition, the EMI Partnership entered into
 25    an Administration Agreement with Sony/ATV Music Publishing LLC (‘Sony/ATV’).
 26    Under the Administration Agreement, Sony/ATV agreed to manage EMI’s day to day
 27    operations, including management and exploitation of EMI’s music catalog, in
 28    exchange for an administration fee.” USA v. All Right To and Interest In Symphony
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   1   Cp (Park Lane) LLC, Case No. 2:16-cv-05364 (C.D. Cal. 2016), Doc. No. 1, at
   2   p.101:13; see also Sony Corporation of America Form 20-F filed for FY Ending
   3   March 31, 2022, at p.20 (detailing history of Sony’s purchase and control of EMI
   4   Music Publishing).
   5         151. The allegations regarding the Intercompany Agreement are incorporated
   6   here by reference.
   7         152. Sony/ATV Music Publishing is EMI Music Publishing’s alter ego.
   8         153. Defendant EMI Music Publishing has an “in-name” only existence. It is
   9   entirely controlled and managed by Defendant Sony/ATV. This is why Sony/ATV is
 10    designated as EMI Music Publishing’s agent on the copyright registration and with
 11    the performing rights organizations. See Exhibit 3.
 12          154. Sony/ATV Music Publishing is also EMI Music Publishing’s agent and
 13    its actions and omissions should be imputed to EMI. Sony/ATV, on behalf of EMI
 14    Music Publishing, filed a US copyright registration listing EMI as a copyright
 15    claimant in Defendants’ song.
 16          155. In addition, the copyright registration indicates that there is a written
 17    agreement of transfer for EMI Music Publishing.
 18          156. On information and belief, this written transfer agreement establishes
 19    Defendant EMI Music Publishing’s rights and ownership in the allegedly infringing
 20    song, designates Sony/ATV Music Publishing and its subsidiaries as its agent in the
 21    United States, and specifies the Sony entities’ interest in the work.
 22          157. By virtue of the written transfer agreement, and the intercompany
 23    agreement, Defendants EMI Music Publishing was aware that Defendants’ song was
 24    being published and exploited in the United States, and intended for this to happen as
 25    part of its business model.
 26          158. Furthermore, EMI Music Publishing’s business model primarily targets
 27    the United States market because it is the largest market for selling, streaming,
 28    distributing, and publishing music.
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   1         159. EMI Music Publishing, by and through its US-based Sony owners which
   2   are its agents and/or alter egos, directly targets the US music market including with
   3   Defendants’ allegedly infringing song. The publishing and distribution of Defendants’
   4   song in the United States was and is part of EMI Music Publishing and Sony/ATV’s
   5   long-term business plan to target and exploit the US music market.
   6         160. EMI Music Publishing receives monies from the exploitation of
   7   Defendants’ song in the United States, as part of Defendants’ business plan.
   8         161. Note that Defendants claimed that Stellar Songs Limited, Mikkel
   9   Eriksen, and Tor Hermansen granted EMI Music Publishing worldwide publishing
 10    rights for the song Dancing with a Stranger. Doc. No. 74-2, at p.4. It is alleged that
 11    Stellar Songs, Mikkel Eriksen, and Tor Hermansen knew and intended that EMI
 12    Music Publishing would by and through agents in the United States target the US
 13    market via the Intercompany Agreement. It is alleged that without the ability to exploit
 14    and target the US market, Defendants would not have contracted with EMI as a
 15    publisher.
 16          162. Defendant EMI Music Publishing by and through Sony/ATV Music
 17    Publishing and its subsidiaries directly infringed Plaintiff’s Song by duplicating it,
 18    copying it, creating derivative works, publicly performing it, and otherwise
 19    reproducing and exploiting it without authorization.
 20          163. This direct infringement includes licensing the song on YouTube, which
 21    states that it was licensed by Sony Music Publishing (a business name that includes
 22    Sony/ATV Music Publishing and EMI Music Publishing). Exhibit 9. It also includes
 23    publishing the sheet music attached as Exhibit 11.
 24          164. Defendant EMI also similarly licensed Defendants song to be exploited
 25    on other streaming services including but not limited to Spotify, Pandora, Amazon,
 26    iTunes, and other streaming services.
 27          165. In the alternative, if this licensing and publishing conduct is not direct
 28    infringement, then it is alleged that EMI Music Publishing is vicariously liable for
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   1   infringement.
   2            166. At all points Defendant EMI Music Publishing, by and through
   3   Sony/ATV, as the owner of the song, copyright claimant, publisher, and a licensing
   4   entity that it had the right and ability to control or stop the infringing conduct but
   5   failed to do so.
   6            167. At all points as a co-owner and co-administrator of the infringing song
   7   Defendant EMI Music Publishing knew of the infringing conduct and also materially
   8   contributed and caused the infringement by, including but not limited to, promoting,
   9   distributing, selling, licensing, publishing, the infringing song “Dancing With a
 10    Stranger” and/or otherwise permitting its use. This includes by licensing the song’s
 11    use, or allowing the same, on streaming and digital download services such as Spotify,
 12    YouTube, Pandora, Amazon, iTunes, and others.
 13             168. As an owner and publisher of the infringing copyright Defendant has
 14    received significant financial benefits as a result of the infringement, including from
 15    the United States.
 16             H.     EMI April Music Inc. (“April Music”)
 17             169.    Defendant owns and/or publishes and/or administers the infringing song
 18    “Dancing With a Stranger,” at least in part. See Exhibit 3.
 19             170.   The allegations above regarding the Sony Intercompany Agreement are
 20    incorporated by reference.
 21             171. Defendant EMI April directly infringed Plaintiff’s Song in its role as
 22    publisher by licensing, promoting, and administering, the reproduction and
 23    performance of Plaintiff’s copyright without authorization.
 24             172. If this conduct is not directly infringing, then in the alternative it is
 25    alleged to be vicariously infringing.
 26             173. At all points as a licensor, publisher, and administrator Defendant April
 27    Music had the right and ability to control or stop the infringing conduct but failed to
 28    do so.
                                            28
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   1         174. At all points as a co-owner and co-administrator of the Infringing Song
   2   Defendant April Music participated in the infringement by, including but not limited
   3   to, promoting, distributing, and selling the infringing song “Dancing With a Stranger”
   4   and/or permitting its use. This includes by licensing the song’s use, or allowing the
   5   same, on streaming and digital download services such as Spotify, YouTube, Pandora,
   6   Amazon, iTunes, and others.
   7         175. Defendant has received significant financial benefits as a result of the
   8   infringement, including as an owner and for an administration fee.
   9         I.     EMI Blackwood Music Inc. (“EMI Blackwood”)
 10          176.   Defendant owns and/or publishes and/or administers the infringing song
 11    “Dancing With a Stranger,” at least in part. See Exhibit 3.
 12          177. The allegations above regarding the Sony Intercompany Agreement are
 13    incorporated by reference.
 14          178.    Defendant EMI Blackwood directly infringed Plaintiff’s Song in its role
 15    as publisher by licensing, promoting, and administering, the reproduction and
 16    performance of Plaintiff’s copyright without authorization.
 17          179. If this conduct is not directly infringing, then in the alternative it is
 18    alleged to be vicariously infringing.
 19          180. At all points as a licensor, publisher, and administrator Defendant EMI
 20    Blackwood had the right and ability to control or stop the infringing conduct but failed
 21    to do so.
 22          181. At all points as a co-owner and co-administrator of the Infringing Song
 23    Defendant EMI Blackwood participated in the infringement by, including but not
 24    limited to, promoting, distributing, and selling the infringing song “Dancing With a
 25    Stranger” and/or permitting its use. This includes by licensing the song’s use, or
 26    allowing the same, on streaming and digital download services such as Spotify,
 27    YouTube, Pandora, Amazon, iTunes, and others.
 28          182. Defendant has received significant financial benefits as a result of the
                                         29
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   1   infringement, including as an owner and for an administration fee.
   2         J.     Salli Isaak Songs LTD (“Salli”)
   3         183. This is a publishing entity for defendant Napier, which is owned by
   4   defendant Downtown Music Publishing.
   5         184. Defendant Salli owns and/or publishes and/or administers the infringing
   6   song “Dancing With a Stranger,” at least in part, through defendant Downtown in the
   7   United States. See Exhibit 3; Exhibit 11.
   8         185.    Defendant Salli directly infringed Plaintiff’s Song by duplicating it,
   9   copying it, creating derivative works, publicly performing it, and otherwise
 10    reproducing and exploiting it without authorization.
 11          186. At all points Defendant Salli had the right and ability to control or stop
 12    the infringing conduct but failed to do so.
 13          187. At all points as a co-owner and co-administrator of the Infringing Song
 14    Defendant Salli participated in the infringement by, including but not limited to,
 15    promoting, distributing, and selling the infringing song “Dancing With a Stranger”
 16    and/or permitting its use. This includes by licensing the song’s use, or allowing the
 17    same, on streaming and digital download services such as Spotify, YouTube, Pandora,
 18    Amazon, iTunes, and others.
 19          188. Defendant has received significant financial benefits as a result of the
 20    infringement. including as an owner and for an administration fee.
 21          K.     Downtown Music Publishing LLC (“Downtown”)
 22          189. Defendant owns, publishes, administers, and licenses the infringing song
 23    “Dancing With a Stranger,” as well as promotes the song, works to exploit it, and
 24    collects royalties for the song’s exploitation. See Exhibits 3, 9, 11.
 25          190. Downtown also owns defendant Salli Isaak and administers its interests
 26    in Defendants’ song.
 27          191.    Defendant Downtown directly infringed Plaintiff’s Song in its role as
 28    publisher by licensing, promoting, and administering the reproduction and
                                         30
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   1   performance of Plaintiff’s copyright without authorization.
   2         192. If this conduct is not directly infringing, then in the alternative it is
   3   alleged to be vicariously infringing.
   4         193. At all points as a licensor, publisher, and administrator Defendant
   5   Downtown had the right and ability to control or stop the infringing conduct but failed
   6   to do so.
   7         194. At all points as a co-owner and co-administrator of the Infringing Song
   8   Defendant Downtown participated in the infringement by, including but not limited
   9   to, promoting, distributing, and selling the infringing song “Dancing With a Stranger”
 10    and/or permitting its use. This includes by licensing the song’s use, or allowing the
 11    same, on streaming and digital download services such as Spotify, YouTube, Pandora,
 12    Amazon, iTunes, and others.
 13          195. Defendant has received significant financial benefits as a result of the
 14    infringement via its ownership of the song and/or its administration fee.
 15          L.     Universal Music Operations Limited (“Universal Music
 16                 Operations”)
 17          196. This is the official name of Universal Music UK, which owns the
 18    phonographic copy of the infringing song “Dancing With a Stranger.”
 19          197. Defendant Universal Music Operations owns and/or publishes and/or
 20    administers the infringing song “Dancing With a Stranger,” at least in part.
 21          198.    Defendant Universal Music Operations directly infringed Plaintiff’s
 22    Song by duplicating it, copying it, creating derivative works, publicly performing it,
 23    and otherwise reproducing and exploiting it without authorization.
 24          199. At all points Defendant Universal Music Operations had the right and
 25    ability to control or stop the infringing conduct but failed to do so.
 26          200. At all points as a co-owner and co-administrator of the Infringing Song
 27    Defendant Universal Music Operations participated in the infringement by, including
 28    but not limited to, promoting, distributing, and selling the infringing song “Dancing
                                         31
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   1   With a Stranger” and/or permitting its use. This includes by licensing the song’s use,
   2   or allowing the same, on streaming and digital download services such as Spotify,
   3   YouTube, Pandora, Amazon, iTunes, and others.
   4         201. As an owner of the infringing copyright Defendant has received
   5   significant financial benefits as a result of the infringement.
   6         M.     Universal Music Group (“Universal Music”)
   7         202. Defendant Universal Music owns, created, and licenses the phonograph
   8   for the infringing song “Dancing With a Stranger.” See Exhibit 3.
   9         203. Defendants Universal Music owns Capitol Records, aka UMG
 10    Recordings. Capitol Records posts the infringing song on its website and offers it for
 11    sale. See Exhibit 10. On information and believe, the song has been sold and copied
 12    from this website.
 13          204. Defendant Universal Music is listed on the YouTube profile for Dancing
 14    With a Stranger as a licensor.
 15          205.     Defendant Universal Music, as creator and owner of Defendants’
 16    phonograph and the composition it contains, directly infringed Plaintiff’s Song by
 17    duplicating it, copying it, creating derivative works, distributing it, publicly
 18    performing it, and otherwise reproducing and exploiting it without authorization. It
 19    also offers the song for sale on its website, where on information and belief it has been
 20    purchased.
 21          206. In the alternative, if Universal Music’s conduct is determined not be
 22    directly infringing in any respect, then it is alleged to be secondarily liable.
 23          207. At all points as owner and licensor, Defendant Universal Music had the
 24    right and ability to control or stop the infringing conduct but failed to do so.
 25          208. At all points as a co-owner and co-administrator of the Infringing Song
 26    Defendant Universal Music participated in the infringement by, including but not
 27    limited to, promoting, distributing, and selling the infringing song “Dancing With a
 28    Stranger” and/or permitting its use. This includes by licensing the song’s use, or
                                         32
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   1   allowing the same, on streaming and digital download services such as Spotify,
   2   YouTube, Pandora, Amazon, iTunes, and others.
   3         209. Defendant has received significant financial benefits as a result of the
   4   infringement as owner of the copyright.
   5         N.     Naughty Words Limited (“Naughty Words”)
   6         210. This is Sam Smith’s publishing entity.
   7         211. Smith lives part time in Los Angeles and writes music in Los Angeles,
   8   including Defendants’ song, and releases music in the United States. Naughty Words’
   9   business plan is to target and exploit the United States music market.
 10          212. In 2017, defendant Naughty Words entered into a partnership with
 11    defendant Downtown Music (which has a Los Angeles office) to use Downtown to
 12    administer the songs it owns, including in the United States:
 13                 Khan [the owner] launched an independent music publishing
 14                 entity Naughty Words, signing lumineers [sic] such as Sam
 15                 Smith with whom he's achieved bona fide global success. Khan
 16                 has entrusted Downtown's bespoke creative and advisory
 17                 services and global royalty collection platform, Songtrust, to
 18                 service his own and Naughty Words' catalogs.
 19                 Of the signing Khan said, "I am really excited about embarking
 20                 upon a new chapter in my songwriting career with Downtown
 21                 and together will continue building the Naughty Boy brand
 22                 worldwide, film scoring and sync music are just a couple of the
 23                 areas I want to expand on and also developing the Naughty
 24                 Words brand further."
 25    See          https://shorefire.com/releases/entry/downtown-enters-into-a-multi-year-
 26    worldwide-partnership-with-naughty-boy.
 27           213. “Naughty Words will now be handled by Downtown’s creative and
 28    advisory services and global royalty collection platform, Songtrust, servicing both
                                        33
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   1   his own and Naughty Words’ song catalogues.” https://www.prsformusic.com/m-
   2   magazine/news/naughty-boys-signs-downtown-music-publishing.
   3         214. When the terms worldwide and global are referred to in these press
   4   releases, they include the primary music market in the world, the United States, which
   5   is the largest market for the exploitation of music (including Defendants’ song).
   6         215. It was intended that future songs written by Sam Smith, on which
   7   Naughty Words served as publisher, would be exploited primarily in the United
   8   States. The claims in this case thus arise by and through Naughty Words contract
   9   with the US-based Downtown Music.
 10          216. Furthermore, Naughty Words also has an agreement with Sony/ATV
 11    Music Publishing (UK) Ltd for Sony to administer and sub-publish Naughty Words’s
 12    compositions. By virtue of the Sony intercompany agreement, this means Sony
 13    administers and sub-publishes the song in the United States.
 14          217. The allegations above regarding the Sony Intercompany Agreement are
 15    incorporated by reference.
 16          218. Naughty Words, before and upon entering into a contract with Sony
 17    Music UK, would have been aware of the intercompany agreement and specifically
 18    intended that Sony exploit Defendants’ song in the United States, the largest music
 19    market in the world.
 20          219. If Sony UK and Sony could not have administered or exploited the song
 21    in the United States, the biggest music market in the world, Naughty Words would
 22    not have entered into the agreement with Sony UK. The same goes for Stellar,
 23    Eriksen, or Hermansen and EMI Music Publishing.
 24          220. In accordance with the intercompany agreement Sony/ATV Music
 25    registered Naughty Words as a copyright claimant and owner of Defendants’ song on
 26    the copyright registration, and Sony/ATV songs in Nashville did so with BMI. See
 27    Exhibit 3.
 28         221. The copyright registration indicates that there is a written agreement
                                        34
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   1   regarding the transfer of ownership and rights of Defendants’ song to Naughty Words.
   2   See Exhibit 3. On information and believe, this written transfer agreement designates
   3   Sony/ATV Music Publishing as Naughty Words agent and contemplates exploitation
   4   of the song pursuant to the intercompany agreement, including expressly in the United
   5   States.
   6             222. By virtue of the written transfer agreement, its contract with Sony UK,
   7   and the Sony intercompany agreement, Defendant Naughty Words was aware that
   8   Defendants’ song was being published, licensed, and exploited in the United States,
   9   and intended for this to happen as part of its business model.
 10          223.      Defendant Naughty Words directly infringed Plaintiff’s Song in its role
 11    as publisher by licensing, promoting, and administering the reproduction and
 12    performance of Plaintiff’s copyright without authorization.
 13          224. If this conduct is not directly infringing, then in the alternative it is
 14    alleged to be vicariously infringing.
 15          225. At all points as a licensor, publisher, and administrator Defendant
 16    Naughty Words had the right and ability to control or stop the infringing conduct but
 17    failed to do so.
 18          226. It is unclear, legally speaking, if licensing and/or publishing a song is
 19    direct infringement or secondary infringement; Plaintiff therefore alleges direct and
 20    secondary infringement in the alternative.
 21          227. At all points Defendant Naughty Words—by and through its designated
 22    agents at Sony—as the owner of the song, copyright claimant, publisher, song
 23    administrator, and licensing entity had the right and ability to control or stop the
 24    infringing conduct but failed to do so.
 25          228. At all points as a co-owner and co-administrator of the Infringing Song
 26    Defendant Naughty Words participated in the infringement by, including but not
 27    limited to entering into contracts meant to allow the song to be exploited in the United
 28    States and the world, and by promoting, distributing, and selling the infringing song
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   1   “Dancing With a Stranger” and/or permitting its use. This includes by licensing the
   2   song’s use, or allowing the same, on streaming and digital download services such as
   3   Spotify, YouTube, Pandora, Amazon, iTunes, and others.
   4         229. Defendant has received significant financial benefits as a result of the
   5   infringement as owner of the song and/or as an administration fee.
   6         O.     Songs of NKH (“NKH”)
   7         230. This is a publishing entity owned by defendant Normani.
   8         231. Defendant owns and/or publishes and/or administers the infringing song
   9   “Dancing With a Stranger,” at least in part. See Exhibit 3.
 10          232. Defendant NKH directly infringed Plaintiff’s Song in its role as publisher
 11    by licensing, promoting, and administering the reproduction and performance of
 12    Plaintiff’s copyright without authorization.
 13          233. If this conduct is not directly infringing, then in the alternative it is
 14    alleged to be vicariously infringing.
 15          234. At all points as a licensor, publisher, and administrator Defendant NKH
 16    had the right and ability to control or stop the infringing conduct but failed to do so.
 17          235. At all points as a co-owner and co-administrator of the Infringing Song
 18    Defendant NKH participated in the infringement by, including but not limited to,
 19    promoting, distributing, and selling the infringing song “Dancing With a Stranger”
 20    and/or permitting its use. This includes by licensing the song’s use, or allowing the
 21    same, on streaming and digital download services such as Spotify, YouTube, Pandora,
 22    Amazon, iTunes, and others.
 23          236. Defendant has received significant financial benefits as a result of the
 24    infringement including as an owner, and as part of the administration fee.
 25          P.     Stellar Songs Limited (“Stellar Limited”)
 26          237. Upon information and belief this is a publishing entity for Stargate,
 27    Eriksen, and Hermansen.
 28          238. Defendant Stellar Limited owns and/or publishes and/or administers the
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   1   infringing song “Dancing With a Stranger,” at least in part.
   2            239. Defendant Stellar Limited has contracted with EMI Music Publishing to
   3   administer its copyrights, and via the intercompany agreement exploit the US market
   4   using the US-based Sony subsidiaries as tis agents.
   5            240. The copyright registration indicates that there is a written agreement of
   6   transfer for Stellar Limited. See Exhibit 3.
   7            241. On information and belief, this written transfer agreement establishes
   8   Defendant Stellar LImited’s rights and ownership in the allegedly infringing song,
   9   designates Sony/ATV Music Publishing and its subsidiaries as its agent in the United
 10    States, and specifies the Sony entities’ interest in the work.
 11             242. By virtue of the written transfer agreement, and the intercompany
 12    agreement, Defendant Stellar Limited was aware that Defendants’ song was being
 13    published and exploited in the United States, and intended for this to happen as part
 14    of its business model.
 15             243. Defendant Stellar Limited directly infringed Plaintiff’s Song in its role
 16    as publisher by licensing, promoting, and administering the reproduction and
 17    performance of Plaintiff’s copyright without authorization.
 18             244. If this conduct is not directly infringing, then in the alternative it is
 19    alleged to be vicariously infringing.
 20             245. At all points as a licensor, publisher, and administrator Defendant Stellar
 21    Limited had the right and ability to control or stop the infringing conduct but failed to
 22    do so.
 23             246. At all points as a co-owner and co-administrator of the Infringing Song
 24    Defendant Stellar Limited participated in the infringement by, including but not
 25    limited to, promoting, distributing, and selling the infringing song “Dancing With a
 26    Stranger” and/or permitting its use. This includes by licensing the song’s use, or
 27    allowing the same, on streaming and digital download services such as Spotify,
 28    YouTube, Pandora, Amazon, iTunes, and others.
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   1         247. Defendant has received significant financial benefits as a result of the
   2   infringement as an owner and because of its administration fee.
   3         Q.     Stellar Songs (“Stellar”)
   4         248.   Upon information and belief this is a publishing entity for Stargate,
   5   Eriken, and Hermansen
   6         249. The allegations regarding Stellar Limited are incorporated here by
   7   reference and realleged against Stellar Songs.
   8         R.     Sony/ATV Music Publishing LLC (“Sony/ATV Music Publishing”),
   9                now known as Sony Music Publishing (US) LLC
 10          250.    Defendant owns and/or publishes and/or administers the Infringing
 11    Song “Dancing With a Stranger,” at least in part.
 12          251. Plaintiff incorporates by reference the allegations regarding the
 13    intercompany agreement.
 14          252. Defendant Sony/ATV Music Publishing is the primary entity running
 15    Sony’s US-based music publishing business, which has subsidiaries worldwide.
 16    Defendant is headquartered in New York.
 17          253.    Defendant Sony/ATV Music Publishing directly infringed Plaintiff’s
 18    Song in its role as publisher by licensing, promoting, and administering the
 19    reproduction and performance of Plaintiff’s copyright without authorization.
 20          254. If this conduct is not directly infringing, then in the alternative it is
 21    alleged to be vicariously infringing.
 22          255. At all points as a licensor, publisher, and administrator Defendant
 23    Sony/ATV Music Publishing had the right and ability to control or stop the infringing
 24    conduct but failed to do so.
 25          256. At all points as a co-owner and co-administrator of the Infringing Song
 26    Defendant Sony/ATV Music Publishing participated in the infringement by, including
 27    but not limited to, promoting, distributing, and selling the infringing song “Dancing
 28    With a Stranger” and/or permitting its use. This includes by licensing the song’s use,
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   1   or allowing the same, on streaming and digital download services such as Spotify,
   2   YouTube, Pandora, Amazon, iTunes, and others.
   3         257. Defendant has received significant financial benefits as a result of the
   4   infringement including as a owner of the song, and from an adminstration fee.
   5         S.     Sony/ATV Music Publishing (UK) Ltd “Sony Music UK”
   6         258.   Defendant owns and/or publishes and/or administers the infringing song
   7   “Dancing With a Stranger,” at least in part.
   8         259. Plaintiff incorporates by reference the allegations regarding the
   9   intercompany agreement.
 10          260. Defendant Sony Music UK is wholly owned by Sony/ATV Music
 11    Publishing. Defendant Sony Music UK has an intercompany arrangement whereby
 12    US affiliates act as its agent(s) to administer and exploit Defendants’ song in the
 13    United States.
 14          261. US-based Sony Music Publishing’s website indicates that Sony’s foreign
 15    subsidiaries are departments and divisions of Sony:
 16                 Sony Music Publishing’s administration services utilize a
 17                 worldwide network of local creative and administrative teams,
 18                 giving its clients both global reach and a personal touch. Its
 19                 songwriters and their representatives are able to obtain
 20                 administrative support in their own territory directly from local
 21                 administration staff, all of whom are experts in their field, have
 22                 a passion for the music they represent, and are able to utilize their
 23                 close relationships with the relevant societies and their
 24                 colleagues to accurately register songs and collect royalties.
 25    https://www.sonymusicpub.com/en/services.
 26          262. Sony’s Form 20-F for FY ending March 31, 2022, indicates that its music
 27    publishing arm is “a US-based music publishing business that owns and acquires right
 28    sot musical compositions, exploiting and marketing those compositions and receiving
                                          39
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   1   royalties or fees for their use.” This music publishing business includes foreign
   2   subsidiaries such as Sony Music UK.
   3         263. Sony Music UK has interest in Defendants’ song via agreements with
   4   defendant Eriksen and Hermansen’s publishing entities with Sony Music UK. The
   5   express purpose of these publishing agreements is for Sony to exploit Eriksen and
   6   Hermansen’s work, especially in the United States. The intent and purpose of this
   7   agreement is for Eriksen and Hermansen’s entities interests to be administered,
   8   published, and exploited in the United States via the intercompany agreement.
   9         264. Sony Music UK also has interest in Defendants’ song via an agreement
 10    with Naughty Words, Sam Smith’s publisher. The express purpose of this agreement
 11    is for Sony to exploit Naughty Word’s interest, especially in the United States
 12          265.    Defendant Sony Music UK directly infringed Plaintiff’s Song in its role
 13    as publisher by licensing, promoting, and administering the reproduction and
 14    performance of Plaintiff’s copyright without authorization.
 15          266. If this conduct is not directly infringing, then in the alternative it is
 16    alleged to be vicariously infringing.
 17          267. At all points as a licensor, publisher, and administrator Defendant Sony
 18    Music UK had the right and ability to control or stop the infringing conduct but failed
 19    to do so.
 20          268. At all points as a co-owner and co-administrator of the Infringing Song
 21    Defendant Sony Music UK participated in the infringement by, including but not
 22    limited to, promoting, distributing, licensing, administering, and selling the infringing
 23    song “Dancing With a Stranger” and/or permitting its use. This includes by licensing
 24    the song’s use, or allowing the same, on streaming and digital download services such
 25    as Spotify, YouTube, Pandora, Amazon, iTunes, and others.
 26          269. Defendant has received significant financial benefits as a result of the
 27    infringement as an owner and for an administration fee
 28          T.     Sony/ATV Songs LLC (“Sony/ATV Songs”)
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   1         270.    Defendant owns and/or publishes and/or administers the Infringing Song
   2   “Dancing With a Stranger,” at least in part.
   3         271. Plaintiff incorporates by reference the allegations regarding the
   4   intercompany agreement.
   5         272. Defendant Sony/ATV Songs directly infringed Plaintiff’s Song by
   6   duplicating it, copying it, creating derivative works, publicly performing it, and
   7   otherwise reproducing and exploiting it without authorization.
   8         273. At all points Defendant Sony/ATV Songs had the right and ability to
   9   control or stop the infringing conduct but failed to do so.
 10          274. At all points as a co-owner and co-administrator of the Infringing Song
 11    Defendant Sony/ATV Songs participated in the infringement by, including but not
 12    limited to, promoting, distributing, and selling the infringing song “Dancing With a
 13    Stranger” and/or permitting its use. This includes by licensing the song’s use, or
 14    allowing the same, on streaming and digital download services such as Spotify,
 15    YouTube, Pandora, Amazon, iTunes, and others.
 16          275. Defendant has received significant financial benefits as a result of the
 17    infringement.
 18          U.     Sony Music Group; Sony Corporation of America (the “Sony
 19                 Defendants”)
 20          276.    The Sony Defendants own and/or publish and/or administer the
 21    Infringing Song “Dancing With a Stranger,” at least in part.
 22          277.      The Sony Defendants directly infringed Plaintiff’s Song by duplicating
 23    it, copying it, creating derivative works, publicly performing it, and otherwise
 24    reproducing and exploiting it without authorization.
 25          278. At all points the Sony Defendants had the right and ability to control or
 26    stop the infringing conduct but failed to do so.
 27          279. At all points as a co-owner and co-administrator of the Infringing Song
 28    The Sony Defendants participated in the infringement by, including but not limited to,
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   1   promoting, distributing, and selling the infringing song “Dancing With a Stranger”
   2   and/or permitting its use. This includes by licensing the song’s use, or allowing the
   3   same, on streaming and digital download services such as Spotify, YouTube, Pandora,
   4   Amazon, iTunes, and others.
   5         280. Defendants have received significant financial benefits as a result of the
   6   infringement.
   7         V.        UMG Recordings, Inc. (“UMG Recordings”)
   8         281.       Defendant Universal Music owns, created, and licenses the phonograph
   9   for the infringing song “Dancing With a Stranger.” See Exhibit 3.
 10          282. Defendants UMG Recordings does business under the name Capitol
 11    Records. Capitol Records posts the infringing song on its website and offers it for sale.
 12    See Exhibit 10. On information and believe, the song has been sold and copied from
 13    this website.
 14          283. Defendant UMG Recordings is listed on the YouTube profile for
 15    Dancing With a Stranger as a licensor.
 16          284.       Defendant UMG Recordings, as creator and owner of Defendants’
 17    phonograph and the composition it contains, directly infringed Plaintiff’s Song by
 18    duplicating it, copying it, creating derivative works, publicly performing it, and
 19    otherwise reproducing and exploiting it without authorization. It also offers the song
 20    for sale on its website, where on information and belief it has been purchased.
 21          285. In the alternative, if UMG Recordings’s conduct is determined not be
 22    directly infringing in any respect, then it is alleged to be secondarily liable.
 23          286. At all points as owner and licensor, Defendant UMG Recordings had the
 24    right and ability to control or stop the infringing conduct but failed to do so.
 25          287. At all points as a co-owner and co-administrator of the infringing song
 26    Defendant UMG Recordings participated in the infringement by, including but not
 27    limited to, promoting, distributing, and selling the infringing song “Dancing With a
 28    Stranger” and/or permitting its use. This includes by licensing the song’s use, or
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   1   allowing the same, on streaming and digital download services such as Spotify,
   2   YouTube, Pandora, Amazon, iTunes, and others.
   3         288. Defendant has received significant financial benefits as a result of the
   4   infringement as an owner of the copyright.
   5         W.     Tim & Danny Music LLC (“Tim & Danny”)
   6         289. Defendant Tim and Danny executive produced and is alleged to own
   7   and/or publish and/or administer the infringing song “Dancing With a Stranger,” at
   8   least in part. See Exhibit 3.
   9         290.      Defendant Tim & Danny, as executive producer of the song, directly
 10    infringed Plaintiff’s Song by participating in the creation of the infringing work.
 11          291. It is also alleged that, as executive producers, Tim & Danny, have
 12    ownership in the copyright and that it licensed the copyright for exploitation. Tim &
 13    Danny is alleged to receive financial remuneration for its participation in the creation
 14    of the song, and ongoing monies relating to the exploitation of the song such as to
 15    make it a beneficial owner.
 16          292. If the conduct described is not directly infringing, then it is alleged in the
 17    alternative to be secondarily infringing.
 18          293. At all points as owner of the work Defendant Tim & Danny had the right
 19    and ability to control or stop the infringing conduct but failed to do so.
 20          294. At all points as a co-owner of the Infringing Song Defendant Tim &
 21    Danny participated in the infringement by, including but not limited to, promoting,
 22    distributing, and selling the infringing song “Dancing With a Stranger” and/or
 23    permitting its use. This includes by licensing the song’s use, or allowing the same, on
 24    streaming and digital download services such as Spotify, YouTube, Pandora, Amazon,
 25    iTunes, and others.
 26          295. Defendant has received significant financial benefits as a result of the
 27    infringement.
 28          X.     45th & 3rd Music LLC (“45th & 3rd”)
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   1         296. Defendant 45th & 3rd produced the infringing song “Dancing With a
   2   Stranger.” See Exhibit 3.
   3         297. Defendant 45th and 3rd, as producer of the song, directly infringed
   4   Plaintiff’s Song by participating in the creation of the infringing work.
   5         298. It is also alleged that, as producers, 45th & 3rd, have ownership in the
   6   copyright and that it licensed the copyright for exploitation. 45th & 3rd is alleged to
   7   receive financial remuneration for its participation in the creation of the song, and
   8   ongoing monies relating to the exploitation of the song such as to make it a beneficial
   9   owner.
 10          299. At all points Defendant 45th & 3rd had the right and ability to control or
 11    stop the infringing conduct but failed to do so.
 12          300. At all points as a co-owner of the Infringing Song Defendant 45th & 3rd
 13    participated in the infringement by, including but not limited to, promoting,
 14    distributing, and selling the infringing song “Dancing With a Stranger” and/or
 15    permitting its use. This includes by licensing the song’s use, or allowing the same, on
 16    streaming and digital download services such as Spotify, YouTube, Pandora, Amazon,
 17    iTunes, and others.
 18          301. Defendant has received significant financial benefits as a result of the
 19    infringement.
 20                                            *****
 21          302. On information and belief, each and every Defendant was an agent,
 22    partner, representative, affiliate, employee, alter ego, or co-conspirator of each and
 23    every other Defendant, and in doing the things alleged herein, each and every
 24    Defendant was acting pursuant to such conspiracy and/or within the course and scope
 25    of such agency, representation, affiliation, control or employment and was acting with
 26    the consent, permission and authorization of the other Defendants. Moreover, on
 27    information and belief, each Defendant who joined the conspiracy after its formation
 28    ratified, adopted and is liable for all acts committed in furtherance of the conspiracy
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   1   including those committed before such Defendant joined the conspiracy.
   2         303. Whenever the Complaint refers to any act or acts of a Defendant, the
   3   reference shall also be deemed to mean that the directors, officers, employees,
   4   affiliates, controlling companies or agents of the responsible Defendants authorized
   5   such act while actively engaged in the management, direction or control of the affairs
   6   of Defendant, and each of them, and/or by persons who are the alter ego of
   7   Defendants, or while acting within the scope of their agency, affiliation, control, or
   8   employment. Whenever the Complaint refers to any act of Defendants, the references
   9   shall be deemed to be the act of each Defendant, jointly and severally.
 10                           JURISDICTION AND VENUE
 11           304. Plaintiff hereby incorporates by reference the preceding paragraphs and
 12    repeats and realleges each of the allegations as if fully set forth here.
 13           305. This action is brought as a copyright infringement case and related
 14    claims; and therefore, subject matter jurisdiction lies within this Court, pursuant to
 15    28 U.S.C. §§ 1331 and 1338.
 16           306. The Central District of California has personal jurisdiction over each and
 17    every Defendant by virtue of (1) their specific contacts with this district, and (2) their
 18    general, systematic, and continuous business and music contacts with this district.
 19           307. Furthermore, the defendants, as elaborated in the above section and
 20    incorporated here by reference, reside in the Central District of California, and/or do
 21    substantial business with those businesses which reside in this district related to the
 22    allegations in this complaint.
 23           308. Venue lies within this Court pursuant to 28 U.S.C. Sections 1391(b)(1) –
 24    (3), 1391(c), 1391(d), and 1400(a) in that one or more defendants reside in this district
 25    or have agents that reside in the district and/or are found in the district.
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   1                                CAUSES OF ACTION
   2                               FIRST CAUSE OF ACTION
   3                              Direct Copyright Infringement
   4                                  (Against All Defendants)
   5         309. Plaintiff hereby incorporates by reference the preceding paragraphs and
   6   repeats and realleges each of the allegations as if fully set forth here.
   7         310. Plaintiff own all rights in the musical composition and sound recording
   8   “Dancing with a Stranger” also known as “Dancing with Strangers” which is an
   9   original and novel copyrightable composition and sound recording.
 10          311. To be liable for direct copyright infringement a defendant must have had
 11    access to the work allegedly copied, and there must be substantial similarity between
 12    the infringing work and the infringed work.
 13          312. Access can be established by showing with direct or circumstantial
 14    evidence that the work in question was actually copied. Access can also be established
 15    by demonstrating that the two works are strikingly similar.
 16          313. Here, access is proven as alleged above.
 17          314. As noted above, the compositions and sound recordings of the songs are
 18    substantially similar both in the lyrics and musical notes, especially in the hook of the
 19    song. See Attached Report of Dr. Alexander Stewart.
 20          315. The songs’ similarity is especially apparent in the selection and
 21    arrangement of the musical composition and sound recording elements, particularly
 22    the identical lyrics “Dancing With a Stranger” overlaying the nearly identical
 23    melodies, in both songs’ hooks. This selection and arrangement of the musical
 24    elements in Plaintiff’s song was copied in Defendants’ song.
 25          316. Without authorization or permission, Defendants have exploited
 26    Plaintiff’s composition and sound recording, reaping tremendous financial rewards
 27    and other pecuniary benefits to the detriment of Plaintiff’s.
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   1            317. Defendants violated Plaintiff’s exclusive rights by, including but not
   2   limited to, doing the following:
   3            a.    copying and reproducing Plaintiff’s music composition and sound
   4                  recording copyrights without permission,
   5            b.    preparing derivative works based upon Plaintiff’s music composition and
   6                  sound recording copyrights which are substantially similar to Plaintiff’s
   7                  works,
   8            c.    distributing copies of the copyrighted works to the public,
   9            d.    performing the works publicly.
 10             318. Defendants have also encouraged and otherwise induced third parties to
 11    infringe on Plaintiff’s composition and sound recording copyrights on a widespread
 12    basis.
 13             319. The initial and predicate acts of copying of “Dancing With a Stranger”
 14    occurred in the United States in Los Angeles, CA at The Stellar House studio on or
 15    around August 7, 2018.
 16             320. As a result of Defendants’ conduct, acts, and/or omissions Plaintiff is
 17    entitled to relief, including but not limited to actual damages, direct profits, and
 18    indirect profits. This includes but is not limited to licensing fees, mechanical royalties,
 19    advertising revenue, streaming revenue, and concert revenue—and any other revenue
 20    derived from the exploitation of the infringing song “Dancing With a Stranger.”
 21                               SECOND CAUSE OF ACTION
 22                              Vicarious Copyright Infringement
 23                                    (Against All Defendants)
 24             321. Plaintiff hereby incorporates by reference the preceding paragraphs and
 25    repeats and realleges each of the allegations as if fully set forth here.
 26             322. To state a claim for vicarious copyright infringement the defendants must
 27    vicariously profit from the direct infringement while declining to exercise a right to
 28    stop or limit the direct infringement.
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   1         323. Here, as described in detail throughout this complaint, the Defendants all
   2   own, publish, or administer the copyright “Dancing With A Stranger” and thus have
   3   complete control over how the work is exploited and receive a great deal of monies
   4   in return. Defendants, as producers, publishers, songwriters, and copyright holders,
   5   all have control over the dissemination, sale, distribution, and licensing of the
   6   infringing song “Dancing With A Stranger.”
   7         324. In the event that some or all of Defendants’ actions and inactions are
   8   determined to not be directly infringing, but another third party is directly infringing,
   9   then they are alleged to be vicariously infringing. For instance, as this complaint
 10    details, Defendants have the right and ability to stop or limit the exploitation of the
 11    infringing song on streaming and download services on YouTube, Apple, Amazon,
 12    and other websites, but have declined to do so. They receive remuneration for the
 13    exploitation of the song on these services.
 14          325. Defendants have the right and ability to supervise and control the
 15    licensing of the radio plays for Defendants’ song. They have not stopped the
 16    infringement.
 17          326. Defendants have the right and ability to control whether Defendants’
 18    song is performed and broadcast on television, or at a concert. They have not stopped
 19    the infringement.
 20          327. It is impossible to list every alleged infringement as the exploitation of
 21    Defendants’ song has been massive; however, if the Defendants are not directly liable
 22    for the streaming, downloading, sales, radio play, and performances they licensed
 23    then they are certainly vicariously liable.
 24          328. As owners, publishers, or administrators, all Defendants profit from the
 25    dissemination, sale, distribution, and licensing of the infringing song “Dancing With
 26    A Stranger” that they have licensed. Given the massive amount of alleged
 27    infringements that have taken place it is impossible without discovery to trace back
 28    every dime each Defendant has received for a particular infringement—especially
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   1   without having access to the underlying contracts. However, alleging that the owners
   2   and beneficial owners of Defendants’ song received monies for the licensing of
   3   Defendants’ composition which led to its commercial satisfies the causal and
   4   financial elements of vicarious liability at the pleading stage.
   5           329. Defendants, as producers, publishers, songwriters, and copyright holders,
   6   all have control over the dissemination, sale, distribution, and licensing of the song
   7   “Dancing With A Stranger” but have not stopped the exploitation of the infringing
   8   work.
   9           330. Without authorization or permission, Defendants continue to exploit
 10    Plaintiff’s song “Dancing With A Stranger” as “Dancing With A Stranger,” reaping
 11    tremendous financial rewards and other pecuniary benefits, to the detriment of
 12    Plaintiff.
 13            331. As a result of Defendants’ conduct, acts, and/or omissions Plaintiff is
 14    entitled to relief, including but not limited to actual damages, direct profits, and
 15    indirect profits. This includes but is not limited to licensing fees, mechanical
 16    royalties, advertising revenue, streaming revenue, and concert revenue—and any
 17    other revenue derived from the exploitation of the infringing song “Dancing With A
 18    Stranger.”
 19                                CLAIMS FOR RELIEF
 20          Wherefore, Plaintiff demands judgment in its favor on all Counts and against
 21    all Defendants for an amount well in excess of the jurisdictional amount required to
 22    guarantee a jury trial. Plaintiff requests that this Court determine and declare that
 23    Plaintiff is additionally awarded and afforded on all Counts from Defendants, jointly
 24    and severally:
 25          (a)    Compensatory damages, together with interest and delay damages;
 26          (b)    Actual damages, direct profits, and/or indirect profits
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   1                    a.     Including but not limited to licensing fees, mechanical
   2                           royalties, advertising revenue, streaming revenue, concert
   3                           revenue.
   4        (c)   Declarations of authorship and ownership;
   5        (d)   Accounting and constructive trust;
   6        (e)   Equitable and injunctive relief pursuant to 17 U.S. Code § 502 and § 503,
   7              inclusive of but not limited to impoundment, destruction, and halting of
   8              sales of the infringing material; and
   9        (f)   Such other and further relief as the Court deems just, necessary, and
 10               appropriate under the circumstances or allowed by statute.
 11
 12                                          *****
                                               Respectfully submitted,
 13
                                                Francis Alexander, LLC
 14
                                                /s/ AJ Fluehr___________
 15                                             Alfred J. Fluehr, Esquire
 16                                             Attorney ID No.: 316503
                                                280 N. Providence Road | Suite 1
 17                                             Media, PA 19063
 18                                             T: (215) 341-1063
                                                F: (215) 500-1005
 19                                             E: aj@francisalexander.com
 20                                             Law Firm / Lawyer for Plaintiff
                                                Pro Hac Vice
 21
 22                                             Lowe & Associates
 23                                             Steven T. Lowe, Esq.
                                                8383 Wilshire Boulevard, Suite 1038
 24                                             Beverly Hills, CA 90211
 25                                             E: steven@lowelaw.com

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 27                                            /d/ March 21, 2023

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   1                         DEMAND FOR JURY TRIAL
   2        Plaintiff hereby demands a trial by jury on all claims and issues so triable.
   3
   4                                          *****
                                                Respectfully submitted,
   5
                                                Francis Alexander, LLC
   6
                                                /s/ AJ Fluehr___________
   7                                            Alfred J. Fluehr, Esquire
   8                                            Attorney ID No.: 316503
                                                280 N. Providence Road | Suite 1
   9                                            Media, PA 19063
 10                                             T: (215) 341-1063
                                                F: (215) 500-1005
 11                                             E: aj@francisalexander.com
 12                                             Law Firm / Lawyer for Plaintiff
                                                Pro Hac Vice
 13
 14                                             Lowe & Associates
 15                                             Steven T. Lowe, Esq.
                                                8383 Wilshire Boulevard, Suite 1038
 16                                             Beverly Hills, CA 90211
 17                                             E: steven@lowelaw.com

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 19                                            /d/ March 21, 2023

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   1                                 SPOLIATION CLAUSE
   2         Plaintiff demands that Defendants take necessary actions to ensure the
   3   preservation of all documents and things related to the case—in any format—
   4   hardcopy, electronic, audio, and visual, inclusive of but not limited to: the Master
   5   recording of the allegedly infringing song “Dancing with a Stranger”, prior recordings
   6   of “Dancing with a Stranger,” the individual audio tracks (both from prior recordings
   7   and initial/early takes), and any and all session audio, tracks, and takes (whether or
   8   not used in the final Master). Defendants should also preserve all ProTools files
   9   related to “Dancing with a Stranger.” All material Defendants have related to
 10    Plaintiff’s song “Dancing with a Stranger” should also be preserved. Defendants
 11    should also preserve any and all video, takes, scripting, notes, cards, or anything else
 12    relating to the “Dancing with a Stranger” music video. Defendants should also
 13    preserve anything related to Plaintiff’s “Dancing with a Stranger” music video.
 14          Defendants are also put on notice to preserve all things including but not limited
 15    to information, materials, communications, or other content/data related to the
 16    averments in this case.
 17                                             ****
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                   EXHIBIT 1
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                   EXHIBIT 2
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                                 Alexander Stewart, Ph.D. LLC
                                 Preliminary Musicology Report
                                        January 3, 2022




Re: “Dancing with a Stranger” and “Dancing with Strangers”




1.     Background

I am Professor of Music, the founder and coordinator of the Jazz Studies Program, and former
Director of Latin American and Caribbean Studies at the University of Vermont. I collaborated
in the design and implementation of our successful Music Technology and Business Program. I
have contributed to numerous peer-reviewed journals and other publications, and I am author of
a book, Making the Scene: Contemporary New York City Big Band Jazz, published by University
of California Press (2007). My article on drumming and rhythms, “Funky Drummer,” first
published in the British journal Popular Music in 2000, has been reprinted in several anthologies
and has been widely cited. My scholarly work encompasses extensive music transcriptions,
musicological analysis, historical research, and other activities, particularly in popular music. I
earned a Ph.D. in Music (Ethnomusicology Concentration) from the Graduate Center of the City
University of New York (CUNY) and a Master of Music in Jazz and Commercial Music from
Manhattan School of Music. During 2006-7 I was a Fulbright scholar researching traditional and
popular music in Mexico. As an active professional musician for more than forty years I have
performed and recorded with leading musicians in jazz and popular music such as Lionel
Hampton, Wynton Marsalis, and Ray Charles. I have provided expert opinions and analysis and
lectured widely on music copyright matters for nearly twenty years. A C.V. attached to this
report lists my professional activities in more detail.


2.     Assignment

I have been asked to examine, compare and research two songs: “Dancing with a Stranger” by
Sam Smith ((henceforth “SS”) and “Dancing with a Stranger” (aka “Dancing with Strangers”) by
Jordan Vincent (henceforth “JV”).1 I was provided media and links to the recordings by Francis


1 My understanding is that Jordan Vincent’s original title was “Dancing with a Stranger” and

that, after the release of the Smith song, he altered the title in order to distinguish his work from
the later song.
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Malofiy, Esq. The media included two versions of JV (the deposit copy audio and a YouTube
video – henceforth “JVvid”). These two versions are the same composition – they differ only in
certain structural elements discussed below. While this report provides analysis of both versions,
its primary focus is the deposit copy version and, unless otherwise noted, all references are to
this version. Additionally, I downloaded the sheet music to SS from Musicnotes.com. I was also
asked to perform a preliminary search for other songs containing similar expression (“prior art”).
Finally, I was charged with providing a preliminary assessment of the importance of any similar
expression to each composition.


3.     Methodology

I begin with close listening to each song in its entirety. I take note of the general characteristics
of each composition. I then transcribe (put into music notation) similar passages and compare
this expression. While primary emphasis is on melodic content, other expression and details
(lyrics, underlying harmony, accompaniment patterns, etc.) are also taken into consideration. If
important similarities are found, I then conduct a prior art search to look for any other songs
containing similar expression. I then assess the quantitative importance as well as the qualitative
significance of this expression to each song.


4.     Summary of Findings

My investigation and analysis have found that the compositions SS and JV are substantially
similar in the lyrics, melodic content (including rhythmic and metric placement), and structural
setting and supportive harmonies of their main themes and choruses. The creative selection and
arrangement of the melody, lyrics and other elements in JV as discussed below are distinctive
and original and this expression forms the musical core of SS. A prior art search turned up no
compositions with anywhere near the degree of similarity as contained in these songs.


5.     Analysis

a) General
Although SS is slightly slower than JV, both songs are very similar in style and production.
Other than the acoustic piano sound during the intro and percussion interlude of of JVvid, both
works rely heavily on synthesized instrumental sounds common in contemporary popular dance
music. Harmonically, SS and JV are built on four-chord cycles of major and minor chords
resulting in some ambiguity2 as to key center (particularly in SS). As discussed further below,


2 Tonal ambiguity has become fairly common in contemporary popular music, especially in

songs based on repeating four-chord cycles such as heard in these songs. Current scholarship in
music theory has taken note of this trend as evidenced in articles and books by Christopher Doll
(2017 Hearing Harmony: Toward a Tonal Theory for the Rock Era. University of Michigan
Press); Asaf Peres, (2016 “(Dys)Functional Harmony: How Sound Production in Twenty-First-
Century Pop Music Liberates Harmony from Its Functional Role,” paper presented at the annual
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these four-chord cycles repeat throughout much of each song. Overall, I hear the third minor
chord as the “tonic” or key center in SS. My reasons are provided below in the discussion of the
chord progressions.

               Key                           Tempo
SS             F minor (Aeolian)             109 bpm
JV             G minor (Aeolian)             120 bpm

The Aeolian mode or natural minor is a minor scale with a flattened sixth. On the piano
keyboard an example would be the seven white keys beginning with A.

b) Harmony3
Basic chord sequences
SS (transposed)      Eb            F   G-    Bb
JV                   G-       D-       Eb    F

SS                    Eb           D- G-     Bb
JV                    G-      D-      Eb     F

As will be seen in example 2 below, a simple rotation of the chords yields an almost identical
cycle over eight bars.

SS (transposed)       Eb           F   G-    Bb      Eb        D- G-        Bb
JV                    Eb      F        G-    D-      Eb      F    G-        D-

It should be noted that the only different chords here are closely related: D- and F and D- and Bb
share two of the three pitches that make up their triads. The progression D- to G- (v-i) in SS
reinforces the sense of a G minor tonality. Moreover, the bVI-bVII-i (Eb F G-) with the
borrowed IV V chords from the relative major (Bb) is a common cadence in rock and popular
music. Finally, the melodic movement to the pitch G, especially in the opening phrases
establishes a strong sense of G minor at the beginning of the song.

c) Basic Structure and occurrences of choruses

The basic structure of each song is similar. Each begins with several iterations of the chord cycle
before the drums and rhythm section kicks in. Each contains three choruses although in the video
the second and third choruses of JV are separated by a brief percussion interlude.


meeting of the Society for Music Theory, Vancouver, BC); Mark Spicer (2017 “Fragile,
Emergent, and Absent Tonics in Pop and Rock Songs.” Music Theory Online [MTO] 23 (2)); and
Mark Richards (2017 “Tonal Ambiguity in Popular Music’s Axis Progressions” [MTO] 23 (3)).
Music Theory Online is described as “one of the flagship journals of the Society for Music
Theory. It is a peer-reviewed open-access electronic journal of research and scholarship in music
theory, music analysis, and related disciplines.” https://www.mtosmt.org/index.php
3 In this and all subsequent analysis, examples have been transposed to the same key signature as

explained in 5d.
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SS
0:00   intro (out of time)
0:23   intro (time and vocalizations)
0:30   verse
1:09   chorus
1:35   verse
1:55   chorus
2:32   chorus (variation)

JV
0:00   intro (vocalizations)
0:30   verse
1:03   chorus
1:34   verse
2:05   chorus
2:39   intro/interlude
3:56   chorus

JVvid
0:00 intro (piano, out of time)
0:21 intro (time and vocalizations)
0:51 verse
1:23 chorus
1:56 verse
2:26 chorus
[3:00 interlude – video only]
3:40 chorus

d) Melodies, signature themes, and structure
Following standard musicological procedure when comparing two or more works, I have
transcribed or put into music notation the relevant passages. In order to facilitate this comparison
I have transposed JV up a whole step in order to place each song in the same key signature.
Interestingly, this same alteration occurs when JV is slowed to the same tempo as SS (without
using software to maintain a constant pitch level) – the melodic and harmonic content converge
as in my transcriptions below. In the melodies at issue in this case, the lyrics reference the titles
of the songs and they can be considered the title or signature themes in each song. They clearly
form the “hooks”4 in the choruses of each composition. As can be seen below, these phrases
appear thirteen times in SS and twelve times in JV.
Occurrences of signature phrase:



4 In popular music, a “hook” is the most catchy and memorable part of a song. In the music

industry, it is widely believed that, in order to be successful, a song must have at least one
“hook.”
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 SS                 JV                JVvid
 1:15               1:04              1:26
 1:25               1:12              1:34
 1:30               1:20              1:41
 2:02               1:28              1:49
 2:12               2:07              2:29
 2:16               2:15              2:37
 2:21               2:23              2:44
 2:26 (partial)     2:30              2:52
 2:39               3:27              3:43
 2:49               3:35              3:51
 2:59               3:43              3:59
 3:04               3:51              4:07
 3:09               3:59
                    4:07
                    4:15
                    4:23

As discussed in greater detail below, the phrase “dancing with a stranger” is heard four times in
each chorus except for the first chorus of SS (where it is heard 3 times) and in the second (where
there is a partial fifth iteration) and third chorus of SS and the last chorus, where the signature
phrase is repeated to end the song. The phrase is heard four times during the interlude of JV (but
not during the JVvid percussion interlude).

e) Melodic analysis
As can be seen in Example 1, these passages are nearly identical in melodic contour, rhythm, and
metric placement and the pitch sequences are very similar.5

Example 1         signature phrases




5 The most authoritative reference work on music in the English language, the New Grove,

defines melody as “pitched sounds in musical time” and the Oxford Companion to Music
describes it as the “interaction of rhythm and pitch.” The Harvard and Oxford dictionaries of
music further explain that, along with pitch, duration (rhythm) is an essential element in the
formation and recognition of melodies.
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While the pitch sequences are not identical, the identity of these passages is also defined by their
identical lyrics, rhythmic durations, metric placement and structural significance. Both phrases
begin with an anticipation of beat one with the syllable “dan-” and descend by regular eighth
notes to the syllable “stran-” which is held for a full beat before resolving on a chord tone on the
final syllable (“-ger”). One slight difference is that this resolution occurs a half beat later in JV.


f) Structural importance in chorus
Example 2 provides transcriptions of the choruses of both songs. The signature phrases and
common chord changes are depicted in red. As can be seen, both choruses are based on a four-
chord cycle. In both choruses the signature phrase appears four times in each within each four
bars chorus (except for the first chorus of SS where it appears three times).


Example 2. Signature phrases in the choruses
Smith 1:55
JV    0:58
JVvid 1:20
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6.      Prior Art
A search for other songs containing the words “dancing with a stranger” unearthed only a dozen
songs that predate the songs at issue in this case. Most are obscure and written in entirely
different styles and genres. In none of these songs is the phrase even remotely similar in melodic
contour, pitch content and rhythm as these phrases in SS and JV are to each other. In many, the
phrase occurs in isolation. The lyric figures importantly as a repeated structural motive (motif) in
only three. As can be seen in example 3, in each of these three earlier songs the phrases are
completely different from the phrases at issue in this case.


Example 3. Prior art




7.       Quantitative Analysis
The signature phrase of the choruses provides the main theme of the choruses and appears
thirteen times in SS, sixteen times in JV and twelve times in JVvid. In SS the choruses comprise
a total of 1:45 of the 3:15 song (105 of 195 seconds) or 54%. In JV the phrase at issue provides
the main theme of the choruses which, along with the four iterations in the interlude, account for
2:15 or approximately 56% of the four-minute song. In the video version of JV the choruses
comprise 1:43 or approximately 40% of the total length of the song (4:16). The proportion of the
song in which the choruses and other iterations appear in the deposit copy of JV (without the 40
second percussion interlude) is nearly the same as in SS. While the choruses are constructed
around the signature phrases, these phrases are not present throughout the entire choruses, so the
quantitative percentages could arguably be somewhat lower. The words “dancing with a
stranger” also comprise a significant proportion of the lyrics in both songs (see Attachment 1).
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Since these lyrics occupy the same musical space as the melodic themes, the percentages of the
lyrical similarities can be considered equal to those found in the melodic analysis.


8.     Qualitative Analysis

Calculating the amount of time that musical expression is present in a composition is at best a
crude measurement of the value of that expression to the overall song. Qualitative analysis
measures the importance of this musical expression to the larger work. In forensic musicology
the quantitative value is adjusted upward or downward according to its overall significance to the
composition. Qualitatively, these themes are the most important expression in each composition.
The lyrics reference the titles of both songs. In the popular music industry, it is an article of faith
that, to become successful, a song must have at least one “hook” or memorable passage. As the
title or signature phrases of each song, these distinctive phrases must be considered the “hooks”
or most valuable parts of the song. In both songs the phrases are the last music the listener hears.
In this case, because this expression is the most important in each song, the quantitative value
must be adjusted upward significantly. In fact, it is difficult to imagine either song existing
without these signature phrases.


9.     Conclusions

The musical expression at issue in this case is substantially similar and is significant both
quantitatively and qualitatively to each song. These signature phrases are distinctive and a prior
art search has uncovered no other songs as similar to these songs as they are to each other. None
of the earlier works exhibit the creative selection and arrangement of elements as originally
heard in JV and later appearing in SS. Indeed, none of this prior art is even remotely similar to
these two songs. As discussed above, the phrases occur repeatedly in both JV and SS in
important places and contain the lyrics referencing the titles. Clearly, they form the most
valuable expression in these compositions. Given the degree of similarity in these distinctive
passages and other details, I consider it extremely unlikely that SS was created independently
from JV.

As a preliminary inquiry, this report is not intended to be exhaustive, and I retain the right to
amend or supplement it should further information become available.

Respectfully submitted,



Alexander Stewart, Ph.D. LLC

Attachments
1)    Lyric comparison
2)    Alexander Stewart, Ph.D. Curriculum Vitae
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                                        Attachment 1 Lyrics

Dancing with a Stranger                             Dancing with a Stranger
Jordan Vincent                                      Sam Smith

Verse I                                             Verse I
That girl was on fire from the get go               I don’t want to be alone tonight
Never had to let go                                 It’s pretty clear that I’m not over you
She said time passes so slow                        I’m still thinking ‘bout the things you do
Everything in slow mo                               So I don’t want to be alone tonight
Over and over again                                 Can you light the fire
Over and over                                       I need somebody who can take control
Over and over                                       I know exactly what I need to do
Over and over                                       ‘Cause I don’t want to be alone tonight,
                                                    alone tonight, alone tonight
Chorus
She said I’m gonna die                              Chorus
Dancing with a stranger                             Look what you made me do
She said I’m gonna die                              I’m with somebody new
Dancing with a stranger                             Ooh, baby, baby I’m dancing with a stranger
She said I’m gonna die                              Look what you made me do
Dancing with a stranger                             I’m with somebody new
She said I’m gonna die                              Ooh, baby, baby I’m dancing with a stranger
Dancing with a stranger                             Dancing with a stranger

Verse II                                            Verse II
Just one more time before I go home                 I wasn’t even going out tonight
Baby move me go go                                  But boy I need to get you off my mind
It’s a feeling that’s how I know                    I know exactly what I have to do
Someday I’m gonna fly baby, Ooh                     I don’t want to be alone tonight, alone
                                                    tonight, alone tonight
Chorus
She said I’m gonna die                              Chorus
Dancing with a stranger                             Look what you made me do
She said I’m gonna die                              I’m with somebody new
Dancing with a stranger                             Ooh, baby, baby I’m
She said I’m gonna die                              Dancing with a stranger
Dancing with a stranger                             Look what you made me do
She said I’m gonna die                              I’m with somebody new
Dancing with a stranger                             Ooh, baby, baby I’m
                                                    Dancing with a stranger
Interlude
Dancing with a stranger                             Dancing with a stranger
Dancing with a stranger                             Dancing with a stranger
Dancing with a stranger                             Dancing, yeah, ooh
Dancing with a stranger
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                            Attachment 1 Lyrics

                                        Chorus
Chorus                                  Look what you made me do
She said I’m gonna die                  I’m with somebody new
Dancing with a stranger                 Ooh, baby, baby I’m
She said I’m gonna die                  Dancing with a stranger
Dancing with a stranger                 Look what you made me do
She said I’m gonna die                  I’m with somebody new
Dancing with a stranger                 Ooh, baby, baby I’m
She said I’m gonna die                  Dancing with a stranger
Dancing with a stranger                 Dancing with a stranger
                                        Dancing with a stranger
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                                Alexander Stewart
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EDUCATION

GRADUATE CENTER: THE CITY UNIVERSITY OF NEW YORK
  Ph.D. in Music (Ethnomusicology Concentration), 2000
  Dissertation: Composition and Performance in Contemporary New York City Big Bands
  (1989-1999) Advisor: Stephen Blum

MANHATTAN SCHOOL OF MUSIC
  Master of Music, Jazz and Commercial, 1991

LONG ISLAND UNIVERSITY, C.W. POST
   B.F.A., summa cum laude, in Music Education, 1988


TEACHING EXPERIENCE

UNIVERSITY OF VERMONT
   Professor, 2012-present
   Associate Professor, 2005-2012
   Assistant Professor, 1999-2005
   Jazz Studies Coordinator, 2003-present
   Director, Integrated Fine Arts Program, 2008-2012
   Director, Latin American Studies Program, Spring 2006; 2011-16

LONG ISLAND UNIVERSITY, C.W. POST
   Instructor in Music, 1988-1999
   Director of Jazz Studies

Additional courses at:
   The New School (Jazz and American Culture), 1995-1997
   John Jay College of CUNY (History of Jazz and Rock), 1995


COURSES TAUGHT

Jazz History
Jazz Improvisation I & II
World Music Cultures
Seminar in Ethnomusicology
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Music Business & Copyright
Music Theory
Musical Avant-Gardes
Music of Cuba, Puerto Rico, and the Dominican Republic
Duke Ellington
Jazz Ensembles (Big Band and Combos)
Seminar in World Music (Honors College)
Music of Latin America and the Caribbean
Latin Jazz Summer Immersion
Culture and Politics of Latin American Protest Music (team taught with professors from Political
    Science, Romance Languages, and Global Studies)

PUBLICATIONS

Books

Making the Scene: Contemporary New York City Big Band Jazz, Berkeley: University of
California Press, 2007.

Spanish translation from the French and German: Hans Bodenmann, El ABC de la Flauta Dulce.
Zurich: Anton Peterer Music & Books, 2003 (Recorder method book).

Forthcoming

“Music, Media, and Anarchism in the ‘Oaxaca Commune,’” In Oxford Handbook of Protest
Music, edited by Noriko Manabe and Eric Drott, New York: Oxford University Press [2021].

Articles, Book Chapters, Reviews, Entries

“Been Caught Stealing”: A Musicologist’s Perspective on Unlicensed Sampling Disputes”
University of Missouri Kansas City Law Review 83(2): 340-61 (Winter 2014).

“Make It Funky: Fela Kuti, James Brown and the Invention of Afrobeat.” American Studies
52(4) (2013): 99-118.

“La chilena mexicana es peruana: Multiculturalism, Regionalism, and Transnational Musical
Currents in the Hispanic Pacific.” Latin American Music Review/Revista de Música
Latinoamericana 34(1) (Spring 2013) Austin: University of Texas Press.

“‘Funky Drummer’: New Orleans, James Brown and the Rhythmic Transformation of American
Popular Music.” Reprinted in Roots Music, edited by Mark F. DeWitt. London: Ashgate, 2011
(originally published in Popular Music 19(3) October 2000 Cambridge University Press).

Review of Ben Ratliff, Coltrane: The Story of a Sound. Jazz Perspectives 2(1):103-109 (2008).

“Contemporary New York City Big Bands: Composition, Arranging, and Individuality in
Orchestral Jazz,” Ethnomusicology 48(2) (Spring/Summer 2004): 169-202.

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Review of The New Grove Dictionary of Jazz in Ethnomusicology 47(3) (Fall 2003):376-80.

“Second Line,” Encyclopedia of Popular Music of the World. London: Cassell 2003.

Essay review of Lewis Porter, John Coltrane: His Life and Music. Annual Review of Jazz Studies
11, 2000-1 [2002]: 237-52.

“‘Funky Drummer’: New Orleans, James Brown and the Rhythmic Transformation of American
Popular Music,” Popular Music 19(3) (Winter 2000): 293-318.

Review of Scott DeVeaux, The Birth of Bebop. Yearbook of Traditional Music 30 (1998): 135-7.

LECTURES, COLLOQUIA, CONFERENCE PAPERS

"Blurred Lines IV: Legal Considerations When Writing." Canadian Film Centre Slaight Music
Residency Panel Talk. Toronto, Canada. May 27, 2021

“Melody, ‘Beats,’ and Minimalism: Copyright in Contemporary Popular Music.” Substantial
Similarity and the Role of Forensic Musicology in Music Copyright Litigation. American
Musicological Society/Society for Music Theory Annual Meeting, Virtual Conference,
Minneapolis, MN. November 15, 2020.

Silicon Flatirons Conference: The Future of Copyright Infringement Analysis in Music. Invited
panelist and Speaker. March 5, 2020, Colorado Law, University of Colorado, Boulder, CO.

Composition, Jazz Improvisation, and Copyright,” Jazz Educators Network (JEN) annual
conference, New Orleans, January 8, 2020

"Blurred Lines III: Legal Considerations When Writing." Canadian Film Centre Slaight Music
Residency Panel Talk. Toronto, Canada. August 7, 2019

"Blurred Lines II: Legal Considerations When Writing." Canadian Film Centre Slaight Music
Residency Panel Talk. Toronto, Canada. August 13, 2018

“The Future of Sampling: Transformative Art or Copyright Infringement?” Alexander von
Humboldt Institute for Internet and Society, Berlin, Germany. February 28, 2018.

"Blurred Lines: Legal Considerations When Writing." Canadian Film Centre Slaight Music
Residency Panel Talk. Toronto, Canada. August 2, 2017

“Creativity and Copyright,” Champlain College, November 11, 2015

Invited Keynote Speaker: Symposium on Hip Hop, Technology, and Copyright. Utah State
University. (March 28, 2015).

“Make It Funky: Fela Kuti, James Brown and the Invention of Afrobeat.” Annual Conference of
the American Studies Association. Washington DC, November 23, 2013.

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“Creativity and Copyright,” Champlain College, October 25, 2013

“Lila Downs: Music, Culture, and Politics in Oaxaca, Mexico.” Pre-Concert Lecture. Flynn
Center for the Performing Arts. Burlington, VT. April 26, 2013.

“Music, Media, and Anarchism in the Oaxaca Commune” Paper presented at Music and War
Panel. AMS/SEM/SMT Annual Conference. New Orleans. Nov. 2, 2012.

“Pasos cromáticos en la improvisación del jazz (Chromatic Passing Tones in Jazz
Improvisation).” Lecture/workshop (in Spanish) at Instituto Projazz, Santiago, Chile. May 31,
2012.

“Musicology CSI: Sampling, Interpolation, and Copyright.” Thursdays at One
Performance/Lecture Series, UVM Music Department.

“Music, Media, and Anarchism in the ‘Oaxaca Commune,’” Presentation to University of
Vermont Global Village, 15 February 2011.

“Son de las barricadas: Protest song and revolution on Oaxaca’s Radio APPO.” Paper read at the
annual conference of Society for Ethnomusicology (SEM) in Los Angeles, CA, Nov. 2010.

“Son mexicano” OLLI (Osher Life Long Learning Institute). Pre-Concert Lecture Sones de
México, Lane Series 8 October 2010.

“Música popular and the Ideology of mestizaje in Postrevolutionary Mexico.” 1 October 2010,
UVM Hispanic Forum.

Musicology CSI: Sampling, Interpolation, and Copyright.” Invited lecture, State University of
New York (SUNY) Albany, 28 April 2010.

“La Chilena Mexicana: Transnational Musical Currents in the Hispanic Pacific” Global and
Regional Studies Lecture, 17 March 2010 Billings Marsh Lounge.

“Copyrights and Copywrongs: Introduction to Forensic Musicology” Invited lecture, State
University of New York (SUNY) Plattsburgh, 11 March 2010.

FLYNNsights: Lecture on Charles Mingus opening the residency of the Mingus Repertory
Ensembles (Mingus Dynasty, Mingus Orchestra, and Mingus Big Band along with dance troupe
choreographed by Danny Buraczeski at the Flynn Center for the Performing Arts. 17 October
2010.

“Supergenre, genre, subgenre: Mexican son and the chilena complex.” Paper presented at the
annual conference of the Society for Ethnomusicology (SEM) in Mexico City, November 2009.

“Socialismo con pachanga: Music in Revolutionary Cuba.” Hispanic Forum, University of
Vermont, 22 October 2009.


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“Performing Race: Afro-Mexicans and Multiculturalism in Oaxaca’s Guelaguetza.” Paper
presented at the Latin American Studies Association (LASA) XXVIII International Congress,
“Rethinking Inequalities” Rio de Janeiro, Brazil, 12 June 2009.

La chilena oaxaqueña: “El gusto de mi region.” Paper presented at the annual conference of the
Sonneck Society for American Music (SAM), Denver, CO, 19-22 March 2009.

Insights FlynnArts. Pre-concert lecture on Maria Schneider and her Orchestra. 22 January 2009.
Amy E. Tarrant Gallery at the Flynn Center for the Performing Arts.

“Performing Race: Afro-Mexicans and Multiculturalism in Oaxaca’s Guelaguetza Festival.”
Paper presented at the annual meeting of the Society for Ethnomusicology (SEM), Wesleyan
University, Middletown, CT, 28 October 2008.

“La Danza de las Diablas”? Race, Gender, and Local Identity in Afro-mestizo communities of
Mexico’s Costa Chica. Paper presented at the annual meeting of the Society for
Ethnomusicology (SEM), Columbus, OH, 28 October 2007.

“Son de las Barricadas”: Songs of Protest from the Spanish Civil War to the Present on
Oaxaca’s Radio APPO.” Hispanic Forum, University of Vermont, 10 October 2007.

“Cross-Cultural Learning through Music and Dance: A UVM Class in Guantánamo, Cuba.”
Presentation to the UVM College of Arts and Sciences Advisory Board, April 2004.

“Beauty and the Beast: Maria Schneider’s Wyrgly.” Paper presented at special session of the
joint meetings of Society for Music Theory (SMT) and the American Musicological Society
(AMS), “Women in Jazz: Voices and Roles,” Columbus, OH, 1 November 2002.

“On the Edge: Sue Mingus and the Mingus Big Band.” Colloquium at the University of Illinois
(Urbana and Champaign), 6 March 2002.

“Blood on the Fields: Wynton Marsalis and the Transformation of the Lincoln Center Jazz
Orchestra.” Paper read at the 2001 annual meeting of the Society for Ethnomusicology (SEM),
Detroit, October 2001.

“The Jazz Concerto as Collaborative Work: Jim McNeely’s ‘Sticks.’” Paper read at the joint
meeting of the Society for Music Theory (SMT) and other major music societies in Toronto, 4
November 2000.

“New York City Big Bands and the Professional Jazz Musician.” Paper read at the annual
meeting of the Society for Ethnomusicology (SEM) in Bloomington, IN, 24 October 1998.

“From Mardi Gras to Funk: Professor Longhair, James Brown and the Transformation of
Rhythm and Blues.” Paper read at joint meeting of the Society for Ethnomusicology (SEM) and
the International Association for the Study of Popular Music (IASPM) in Pittsburgh, PA,
October 1997.



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GRANTS AND AWARDS
Coor Collaborative Fellowship, Rethinking African Art. 2020-2021.

UVM Humanities Center Public Humanities Fellowship for sabbatical travel to Uganda. 2019.

International Travel Funds Award. College of Arts and Sciences. Travel to and residency in
Uganda. Jazz Performance and Workshops; Research in Traditional Music. October and
November 2019.

Interdisciplinary Experiential Engagement Award for course proposal, Culture and Politics of
Latin American Protest Music, to be taught in collaboration with Political Science, Romance
Languages, Global Studies, and Music Departments. January 2013.

Lattie F. Coor Award for International Travel to present paper and chair panel at the Society for
Ethnomusicology conference (SEM) Mexico City. November 2009.

Joan Smith Faculty Research Support Award Performing Race: Afro-Mexicans,
Multiculturalism, and the “Black Pacific.”

Lattie F. Coor Award for International Travel to present paper at the Latin American Studies
Association (LASA) Congress in Rio de Janeiro, Brazil. June 2009.

Fulbright Research Fellowship to Mexico, Afro-Mexican music, 2006-7.

Award for Contribution to Vermont Jazz Education, presented by Wynton Marsalis and the
Flynn Center for the Performing Arts, October 2005.

UVM Arts and Sciences Dean’s Fund for Faculty Development (to initiate fieldwork in the Costa
Chica of Mexico), Fall 2005.

UVM Humanities Center Research Grant, Spring 2004.

UVM Global Outreach Committee Grant, March 2003.

UVM Arts and Sciences Faculty Development Grant for study in Cuba, May 2002.

2001 Barry S. Brook Award for best dissertation in music CUNY.

CUNY Dissertation Year Fellowship 1998-1999.



MUSIC COPYRIGHT & RELATED

Expert Report in Bridgeport Music, Inc. v. Dimension Films, 410 F.3d 792 (6th Cir. 2005). Case
recognized as setting new “bright line” standard for use of samples of copyrighted recordings.



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Testimony in trial in Federal District Court, Nashville TN, Case No. 3:01-780, Bridgeport Music
v. Universal Music. February 2007. “Atomic Dog” and “D.O.G. in Me.” Affirmed by US Sixth
Circuit Court of Appeals, No. 07-5596, November 4 2009. Case examined issues concerning
fragmented literal similarity, originality, and fair use.

Testimony in Federal District Court, Nashville, TN Case No. 3:01-0155 involving rap artist, the
Notorious B.I.G and the Ohio Players. (March 2006). Affirmed by US Sixth Circuit Court of
Appeals, No. 06-6294, October 17 2007.

Testimony by Deposition (for the Plaintiff), Case No. 1:09-cv-21597-DLG (Florida Southern
District Court) Kernel Records Oy v. Timothy Z. Mosley p/k/a Timbaland, UMG Recordings,
Inc, et al. New York City, May 27, 2010.

Testimony by Deposition (for the Defense), Case No. 37-2008-00098508-CU-BT CTL
(California Southern District Court) Sixuvus v. Victor Willis, New York City, July 7, 2010.

Testimony by Deposition (Los Angeles, September 2011). Case No. 10-CV-08123 Phoenix
Phenom v. William Adams, Jr. Stacy Ferguson, et. al.

Testimony by Deposition (New York City, January 2012). Case No. SACV10-1656JST(RZx)
Pringle v. William Adams, Jr. Stacy Ferguson, et. al.

Testimony by Deposition (New York City, June 3, 21, 2013). Case No. CV12-5967
VMG Salsoul, LLC v. Madonna Ciccone, Shep Pettibone, et al.

Testimony by Deposition (New York City, September 11, 2013). 11-cv-6811. Marino v. Usher.

Testimony by Deposition (Burlington, VT, May 20, 2015). RALEIGH, NC #301280 Absent
Element v. Daughtry.

Testimony by Deposition (Burlington, VT, May 17, 2016) and in Trial (June 17, 2016) Federal
District Court, Los Angeles Case No. 15-cv-03462 RGK (AGRx). Skidmore v. Led Zeppelin, et
al.

Testimony by Deposition (New York, NY, November 3, 2017) Supreme Court of the State of
New York, Index No. 650427/2016. Pai v Blue Man Group Publishing, LLC, et al.

Testimony by Deposition (New York, NY, May 30, 2018) Griffin v. Sheeran. 1:17-cv-05221
New York Southern District Court

Testimony by Deposition (Burlington, VT, January 2, 2020). Beatbox Music Pty, Ltd. v.
Labrador Entertainment, et al. Case No. 2:17-cv-6108. Central District of California.

Testimony by Deposition (Burlington, VT, May 27, 2020). Smith v. Tesfaye. Case No. 2:19-cv-
02507-PA-MRWx Central District of California.




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Los Angeles: Warner Bros. Entertainment Inc.; Hiscox Insurance Co.; Clair G. Burrill P.C.;
Sheppard Mullin Richter & Hampton LLP; Doniger Burroughs, APC; Pen Music Group;
Microhits; Robert S. Besser Law Offices; etc.

New York: BMG Group; Schwartz Ponterio & Levenson, PLLC; Grubman Shire & Meiselas,
P.C.; Eisenberg Tanchum & Levy; Sample Clearance Limited; Lastrada Entertainment
Company; etc.

Nashville: King and Ballow; Riser House Entertainment, LLC; DeSalvo Law Firm, PLLC;
Beckett Law Office; etc.

Elsewhere: K & L Gates (London); Schwartz Cooper (Chicago); Brooks Pierce (Raleigh NC);
Frank & Rice (Florida); Francis Alexander, LLC (Philadelphia); Rawson Merrigan & Litner
(Boston); Koepple Traylor (New Orleans); JPMC (Burlington VT); Kile Goekjian McManus
(Washington DC); Arent Fox LLP (Washington DC) Gould Law Group (Chicago); Richardson
Patrick Westbrook & Brickman, LLC (Mt. Pleasant SC); Hall Booth Smith & Slover (Atlanta);
Miller Canfield Paddock & Stone (Detroit); King Mesdag Music Publishing Limited (United
Kingdom); as well as clients in Canada, Australia, Indonesia, Hong Kong, India, United Arab
Emirates, Latin America and Europe.

Classes and seminars in Music Business and Copyright (see above for details)

Symposium on Music Copyright. University of Vermont, January 2003.


SELECTED RECORDINGS

Early Heroes, Dan Silverman. Section playing and solo on Chares Mingus’ The Shoes of the
Fisherman's Wife…Around the Slide Recordings 02 (2018).

Rick Davies Thugtet – Tenor saxophone Emlyn Music EM 1003 (2017)

Rick Davies and Jazzismo, Salsa Norteña, - Tenor saxophone (Recorded in Montreal 2011
(2012).

New York Jazz Repertory Orchestra, Le Jazz Hot, featuring Dave Liebman and Vic Juris. Planet
Arts 310976 - Baritone saxophone, bass clarinet (2009).

Rick Davies and Jazzismo, Siempre Salsa, featuring Wayne Gorbea. Emlyn Music EM1001 -
Tenor saxophone (2006).

Anne Hampton Callaway, To Ella with Love, featuring Wynton Marsalis, Christian McBride,
Lewis Nash, Cyrus Chestnut. Touchwood Records TWCD 2006 - Tenor saxophone and clarinet
(1998).

Peter Herborn, Large, featuring Gene Jackson, Greg Osby, Robin Eubanks, and others. Jazzline
JL1154-2 – Baritone saxophone and bass clarinet (1998).

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Billy Stritch, Waters of March: The Brazilian Album. Sin Drome SD8950 - Tenor saxophone and
flute (1998).

Dave Stryker, Nomad, featuring Randy Brecker and Steve Slagle. Steeplechase Records
SCCD31371 - Baritone saxophone and bass clarinet (1997).

Frankie Lane: Wheels of a Dream. Touchwood Records TWCD 2020 - Tenor saxophone, flute,
and alto flute (1997).

The Bill Warfield Band, The City Never Sleeps. Seabreeze Records CDSB 2048 - Baritone
saxophone and bass clarinet (1996).



SELECTED PERFORMANCES: JAZZ AND LATIN
Burlington Discover Jazz Festival Big Band (Music Director, Contractor, Performer)

Birth of the Cool: Music by the Miles Davis Nonet. Featuring Ray Vega, trumpet. Performances
in June 2012 (BDJF), and in September 2012 (UVM), and May 2013 (SUNY Plattsburgh).

Textures: Jim Hall with Brass featuring the Jim Hall Trio (Jim Hall, guitar, Scott Colley, bass
and Joey Baron, drums) with brass ensemble, Alex Stewart, conductor. Flynn MainStage, 2010
Burlington Discover Jazz Festival.

Paquito D’Rivera Funk Tango. Produced, co-directed, and played saxophone in concert on Flynn
MainStage with 17-piece orchestra with guests: Paquito D’Rivera, alto saxophone; Diego
Urcola, trumpet; Alex Brown, piano; Massimo Biocalti, bass; Mark Walker, drums; and special
guest Ray Vega, trumpet. Burlington Discover Jazz Festival (1 June 2008). Reviews in Free
Press, AllAboutJazz, and other media.

Mary Lou Williams Resurgence with Cecilia Smith, vibraphone and Amina Claudine, piano,
2007 Burlington Discover Jazz Festival, Flynn Center.

Music of Jim McNeely with special guest Jim McNeely, piano 2006 Burlington Discover Jazz
Festival, Flynn Center.

Sketches of Spain: Celebrating the Miles Davis/Gil Evans Collaboration with trumpeter Randy
Brecker and guest conductor, Joe Muccioli 2005 Burlington Discover Jazz Festival, Flynn
Center.

The Grand Wazoo: Music of Frank Zappa, with Ernie Watts, Napoleon Murphy Brock, Ike
Willis, and Ed Palermo 2004 Burlington Discover Jazz Festival, Flynn Center.

Duke Ellington Sacred Concert, with David Berger, Priscilla Baskerville, Paul Broadnax, and
100-voice Choir, 2003 Burlington Discover Jazz Festival, Flynn Center


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Jazz and Latin

Solo Recital: Chasin’ the ’Trane: Music of John Coltrane. UVM Southwick Recital Hall,
Septenber 27, 2018.

Concert: Ray Vega & the Burlington Latin Jazz Orchestra, FlynnSpace, August 9, 2018.

Recital: Ray Vega & the Burlington Latin Jazz Orchestra, UVM Southwick Recital Hall,
October 21, 2018.

Chasin’ the Trane: Homage to John Coltrane, with Ray Vega, trumpet. Juniper, Hotel Vermont,
2018 Burlington Discover Jazz Festival June 7 and July 18, 2018.

Chasin’ the Trane: Homage to John Coltrane, with Ray Vega, trumpet. Light Club Lamp Shop,
Burlington VT, July 26, 2018

Performances of Alex Stewart Quartet on Jazz Wednesdays at Juniper (Hotel Vermont), Lamp
Shop Light Club (some performances featured special guest Ray Vega, trumpet), 2018.

Featured soloist – SUNY Plattsburgh Jazz Festival December 2013.

James Harvey and Garuda – opening act for Randy Weston in Discover Jazz Festival (2004);
numerous other performances around region.

Beboparaka (featuring poetry of Amiri Baraka) andJazzLit.com – jazz and poetry collaborations
with UVM professors Major Jackson, Tina Escaja, John Gennari and UVM students.
Performances at the Discover Jazz Festival and local venues. Coverage in the Burlington Free
Press and Vermont Quarterly (2005, 2006).

Grupo Sabor (Salsa and Merengue) – Performances in UVM’s Grand Maple Ballroom and
Brennan’s Pub for Alianza Latina (2010), Higher Ground, Burlington; Red Square; Eclipse
Theater, Waitsfield; Onteora Club, New York; Burlington Latino Festival (2001-present).

Performances with UVM jazz faculty (Jeff Salisbury, Joe Capps, Paul Asbell, Patricia Julien,
Ray Vega, John Rivers, Tom Cleary, Rick Davies, Steve Ferraris) at recitals, concerts, and other
events (1999-present).

The Lionel Hampton Orchestra; featured artists: Dizzy Gillespie, Dee Dee Bridgewater, and
others. Extensive tours of Europe and North America and appearances at major jazz festivals
including: North Sea, Nice, Montreal, Newport (NY and Saratoga), Biarritz (1989-1991).
The Bill Warfield Band, The Dorsey Brothers Orchestra, David Berger, Paquito D’Rivera, Clem
DeRosa, Bobby Shew, David Liebman, Andy Farber, Stan Rubin, Lew Anderson, Billy Mitchell,
Roland Hanna, Lew Soloff, Randy Brecker and many more (1985-1999).

The Lehigh Valley Repertory Jazz Orchestra: Sketches of Spain featuring Randy Brecker, An
Evening with David Liebman, A Tribute to Benny Goodman featuring Buddy DeFranco, and
Celebrating Louis Armstrong featuring Jon Faddis (1997-2000).

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Rick Davies & Jazzismo

Burlington Latin Jazz Orchestra, directed by Ray Vega, FlynnSpace, August 9, 2018

Featured Performer: Jazz Education Network Conference, San Diego, CA January 2015.

Workshops and concerts, Colectivo Central, Oaxaca, Mexico. June, July 2011.

With guest pianist/composer Arturo O’Farrill (and sons, Zachary, percussion and
Adam, trumpet), FlynnSpace. 2010, 2011, 2012, 2013, 2014, 2015, 2017, 2017. With Jonathan
Maldonado, drums, and Papo Ross, vocals and alto saxophone, 2009.

With guest artist Ray Vega, FlynnSpace (July 2003, 2004, 2005, 2006, 2007, 2008).

Appearances at SUNY Plattsburgh Jazz Festival (with Harvie S., 2002; with Chocolate
Armenteros 2003; with Ray Vega 2008, 2011; with Curtis Fowlkes 2010 ); Red Square and other
venues.

Oaxaca, Mexico: Colegio Teizcali, Colectivo Central, Spring 2007.


SELECTED PERFORMANCES: POPULAR AND BLUES

Frankie Valli, Ray Charles (Sweden 1999), Mary Wells, Frankie Avalon (Atlantic City), The
Drifters, Funk Filharmonik, The Funk Collection, Nick Apollo Forte, Little Wilson, Sandra
Wright Band, Jimmy Branca and the Red Hot Instant Combo, Dave Grippo Funk Band, and
others (1985-present).

Contractor, musical director. Joan Rivers. Flynn Center for the Performing Arts. April 26, 2012.

Orchestra contractor with Bernadette Peters at the Flynn Center of the Arts October 2011.


CLINICS AND GUEST CONDUCTING

Guest Conductor, Connecticut Valley District Jazz Festival, January 30-31, 2015.

Guest Conductor, Winooski Valley Jazz Festival, February 4-5, 2010.

Adjudicator/Clinician, Vermont All-State Festival, International Association of Jazz Educators
(IAJE): 2000-2003.

Guest Conductor, Nassau County (Long Island) All-County Jazz Festival, 1997.




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MEMBERSHIPS

American Musicological Society (AMS)

Society for Ethnomusicology (SEM)

Society for American Music (Sonneck)

Latin American Studies Association (LASA)

Friends of Indian Music and Dance (FIMD), Burlington VT

Burlington Discover Jazz Festival Advisory Board




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     Comparison Video
    Between Plaintiff and
     Defendants' Music
          Videos




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                   EXHIBIT 5
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            Music Video for
            Plaintiff's Song



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                   EXHIBIT 6
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           Music Video for
           Defendants' Song




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     Plaintiff's Registered
     Deposit Copy Sound
          Recording




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    THIS INTERCOMPANY AGREEMENT (the "Agreement") is entered into as of July
    1, 2019 by and between the contracting parties detailed on Schedule 5 acting as Publisher
    and on Schedule 6 acting as Affiliate (the "Party" and "Parties").

   WHEREAS

   (1)    The Parties hereto now own, control or manage and will hereafter own, control or
          manage certain IPR's and are beneficiaries under IPR Agreements for territories
          throughout the world;

   (2)    All previous arrangements excluding Long Term Agreements for the
          representation, administration and licensing of all such IPR's including but without
          limitation all rights to collect and receive income derived therefrom have expired
          and/or been terminated as of June 30, 2019; and

  (3)     The Parties hereto wish to grant to each other rights in and to the IPR's within their
          control and to acquire licenses from the other to exercise such rights in certain
          territories on the terms and conditions set out in this Agreement.

  NOW IT IS HEREBY AGREED as follows:


  1.      DEFINITIONS

  In this Agreement, the following terms have the respective meanings set out below, unless
  the context requires otherwise;

  1.1      "Affiliate" means the Party, as the case may be, in that party's capacity as grantee
           of Intellectual Property Rights as detailed in Schedule 6 together with all the
           companies listed in Schedule 3, where applicable. Notwithstanding the foregoing
           the Schedule may be amended during the Term in writing between the Parties;

  1.2      "SOLAR Digital Rights" shall mean




  1.3      "Compositions" means the words and music of all musical composition;

  1.4      "Cover Recording" means a second or subsequent recording of a Composition
           featuring the performance of or a production by a person other than the writer
           thereof;

  1.5      "Digital Rights" means the right to issue licenses in respect of performing (making
           available) and/or reproduction rights for exploitation (streaming, downloading
           and/or otherwise) on the Internet or other means of online and/or mobile digital


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          delivery of the IPRs with or without any associated data such as text and/or still
          or moving visual images and shall include all digital transcriptions, duplications,
          encoding or any other method, now known or hereafter devised, which can now
          or may be used to duplicate, distribute, copy or perform publicly the said IPR via
          digital means including, but not limited to, streaming and/or downloading (as such
          terms are customarily used in the industry), ringtones, videos (user generated or
          otherwise), karaoke or otherwise and shall include distribution by means of
          automated retailing systems which use the Internet, the World Wide Web, any
          wireless satellite or mobile telephone transfer or electronic bulletin board services
          to distribute and/Or sell music product or any similar means of distribution;

   1.6    "EMI MP" shall mean all the companies detailed under EMI Music Publishing
          in Schedule 4;

   1.7    "EMI SMP" shall mean all the companies detailed under EMI Songs in Schedule
          4;

   1.8    "EMI CAT" shall mean all the companies detailed under EMI Catalogue
          Partnership in Schedule 4;

   1.9    "EMI VMP" shall mean all companies detailed under EMI Consortium (formerly
          known as EMI Virgin Music Publishing in Schedule 4;

   1.10   "Gross Revenues"




   1.11   "Intellectual Property Rights" or "IPR" means any intellectual property or
          associated rights, literary, artistic or musical materials, including, but not limited
          to Compositions and Master Recordings owned, controlled, administered or
          managed by the Publisher respectively directly or indirectly through a subsidiary
          or other affiliate and/or a third party at the commencement of the Term or so
          acquired (or re-acquired) by the Publisher as appropriate during the Term subject
          always to the termination of any rights therein by any IPR Holder by way of
          contract or otherwise or any rights flowing to the IPR Agreements excluding
          "Neighboring Rights" and "Library Music" as defined, respectively, in the
          following sentences.




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          "Neighbouring Rights" means those rights granted to a Publisher, pursuant to an
          agreement between a Publisher and a third party performer and/or master
          recording owner, to authorize the public performance via any and all means of
          recorded performances and/or master recordings and/or to receive remuneration
          in respect of the same.

          "Library Music" means recorded music and musical compositions licensed to
          customers for use in film, television, radio and other media which is to be
          specifically exploited as production music.

   1.12   "IPR Agreement" means the agreement between Publisher and the IPR Holder
          pursuant to which Publisher is granted Intellectual Property Rights;

   1.13   "IPR Holders" means third party owners, recording artists, author(s) and/or
          composer(s) of Compositions and Master Recordings or partieS that otherwise
          control rights granted to Publisher pursuant to an IPR Agreement;

   1.14   "Licensed Territory" means the territory detailed on Schedule 6;

   1.15   "Long Term Agreement" means IPR Agreements entered into on an atm' s length
          basis which are not capable of being unilaterally terminated by the party granting
          rights in IPR's to the other party;

   1.16   "Master Digital Rights" mean the Digital Rights for the IPR owned and/or
          controlled from time to time by the Publisher in respect to Master Recordings;

   1.17   "Master Recording" means every recording of sound, whether or not coupled with
          a visual image, by any method and on any substance or material, or other means
          by which sounds, whether or not coupled with a visual image, may be reproduced,
          in either case whether now or hereafter known and is owned or controlled by
          Publisher which is used or useful in the recording, production and/or manufacture
          of records or for any other commercial exploitation;

   1.18   "Master Rights" means those rights referred to in Schedule 2 hereto, but subject
          to clause 2.5 below;

   1.19   "Publisher" means the Party, as the case may be, in that party's capacity as grantor
          of Intellectual Property Rights as detailed on Schedule 5 together with all the
          companies listed in Schedule 3. Notwithstanding the foregoing the Schedule may
          be amended during the Term in writing between the Parties;

   1.20   "Sub-publishing Rights" means those rights referred to in the Schedule 1 hereto;

   1.21   "Synchronization Rights" or "Synch Rights" means those rights referred to in the
          Schedule 1 (1) hereto;

   1.22   "Term" means the period of




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 • 1.23   "Termination Date" means the effective date of the end of the Term in accordance
          with the terms of this Agreement;

   1.24   "Third Party Licenses" means the agreements between Publisher and third parties
          whereas Publisher grants to third parties certain exploitation rights in the
          Intellectual Property Rights. Such Third Party Licensees include without
          limitation granted to collection societies;

   1.25   In this Agreement, and its recitals and schedules, unless the context otherwise
          requires:

          1.25.1   reference to the singular includes a reference to the plural and vice versa;

          1.2.2    reference to any paragraph of the recitals, schedule, clause or sub-clause
                   is to a paragraph of the recitals, schedule, clause or sub-clause (as the
                   case may be) of or to this Agreement as the same may be amended,
                   novated or supplemented from time to time;

          1.25.3   reference to any gender includes a reference to all other genders;

          1.25.4   references to persons in this Agreement include bodies corporate,
                   unincorporated associations and partnerships and any reference to any
                   party who is an individual is also deemed (where applicable) to include
                   their respective legal personal representatives);

          1.25.5   the word "including" shall be construed as being by way of illustration
                   only and shall not limit or prejudice the generality of any preceding word
                   or words and accordingly the word "including" shall be read and
                   construed as meaning "including but expressly without limitation";

          1.25.6   words following the word "other" or "otherwise" are not to be limited by
                   any words preceding them; and

          1.25.7   references to any party shall, unless the context otherwise requires,
                   include that party' s lawful successors and permitted assigns.

   1.26   Except to the extent that the context requires otherwise any reference in this
          Agreement to a "law" includes common or customary law and any constitution,
          decree, judgment, legislation, order, ordinance, regulation, statute, treaty or other
          legislative measure, in each case of any jurisdiction whatsoever (and "lawful" and
          "unlawful" shall be construed accordingly).

   1.27   The recitals and the schedules to this Agreement form part of this Agreement and
          shall have the same force and effect as if expressly set out in the body of this
          Agreement. Accordingly, any reference to this Agreement shall include the body
          of this Agreement and its recitals and its schedules as amended, novated or
          supplemented from time to time.




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   2.      APPOINTMENT AND GRANT OF RIGHTS

   2.1     Publisher grants to Affiliate all Sub Publishing Rights and Master Rights granted
           to Publisher under each applicable IPR Agreement (subject to all relevant Third
           Party Licensees) including, without limitation, the sole and exclusive right or• as
           detailed in Schedule 6, during the Term, in the Licensed Territory subject to any
           limitations in the IPR Agreement and subject to Third Party Licenses, to
           administer, control, use, exploit, and otherwise deal in and license the IPR, all of
           which Affiliate hereby agrees to do in accordance with prevailing business
           practices in the music publishing industry on the terms and conditions set forth in
           this Agreement.

   2.2     Publisher grants to Affiliate during the Term in respect of the rights set out in
           clause 2.1 above the exclusive right to collect all monies earned prior to the
           commencement of the Term but not yet paid with respect to the exploitation of
           the IPR in Publisher's catalogue.

   2.3     All grants of rights herein made are subject to any and all restrictions and
           reservations that may govern the use of such rights contained in the applicable
           IPR Agreement provided that the Affiliate shall have received notice of such
           restrictions and reservations. In the event that any rights shall require the consent
           or approval of any third party prior to the use in question being licensed Publisher
           will take all necessary steps to obtain such consent or approval and if the same is
           not forthcoming the use in question will not be licensed provided that notice of
           the requirement to obtain approval or consent shall have been given in writing.

   2.4     To the extent that any grant or assignment of the rights expressed to be granted
           and assigned hereunder is subject to a legal restriction or a condition then until
           such restriction is lifted or condition satisfied, the Affiliate shall in all respects
           possible be beneficially entitled to the benefit of IPR Agreements and Third Party
           Licenses notwithstanding that the legal entitlements pursuant to such agreements
           shall remain with the Publishers.


    2.5    Restrictions to Grant of Rights

           The Affiliate (and, where applicable, its licensees and sub-licensees) shall not,
           without the consent of the Publisher:

           2.5.1 license the IPR for use in motion pictures, television films, TV series, and/or
                 in      other audiovisual productions, videogrammes, radio ads, TV spots;
                 any other kind of commercials and other original works to which the IPR
                 may be incorporated and originating in the Licensed Territory, except as
                 covered by any blanket licensing, collective licensing or statutory licensing
                 regime or scheme relating to the broadcast or reproduction of Compositions
                 or Master Recordings;

           2.5.2 release a Master Recording where the dealer price is less than       of the
                 published price to dealers or wholesale price of the recording concerned in
                 the country in question a so called "budget record" or "mid-price record"



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                   until such time as the Publisher has itself released such Master Recording
                   as a budget record or mid-price records (as applicable);

             2.5.3 edit, mix, remix, remaster or otherwise alter a Master Recording;

             2.5.4 re-sequence or otherwise change the content of any Master Recording from
                   the version of such Master Recording released by Publisher;

             2.5.5 couple a Master Recording with other recordings for release on any
                   compilation records;

             2.5.6 authorize the exploitation of Master Recording by way of a direct sale of a
                   record to a consumer by a third party record club
                                                             a so called "club sale"; or

             2.5.7 produce any promotional video, "long form" video or other audiovisual
                   work.


   3.       TERM

   3.1      The prior arrangements between the Publishers and Affiliates excluding Long Tenn
            Agreements shall be deemed expired and/or terminated as of June 30, 2019.

   3.2      Each Publisher shall be able to terminate their participation in this Agreement by
            giving written notice to Affiliate of its intention to terminate as set forth in clause
            1.23.

    3.3     On the Termination Date all rights assigned or otherwise granted to Affiliate in the
            IPR will automatically revert to Publisher and Affiliate will have no rights in and
            to the IPR thereafter or to any monies earned or payable in respect of such IPR after
            the Termination Date.

    3.4     As soon as practically possible after the Termination Date Affiliate will execute or
            cause to be executed such documents as Publisher deems necessary to affect the re-
            assignment or expiry or termination of all rights held by Affiliate in the IPR.


    4.      SPECIAL CONDITIONS

    4.1     For the countries of Australia and New Zealand,




    4.2.1   For the country of Colombia,




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   4.2.2 Subject to the provisions in 4.2.1,




   4.3    For the country of France,




   4.4




    5.    ROYALTIES

    5.1   Sub Publishing Royalties

          5.1.1   Mechanical royalties paid in respect of the IPR shall be divided as follows:




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         5.1.2




        5.1.3




        5.1.4




        5.1.5




        5.1.6    Affiliate also agrees to pay:
                 (i)




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                  (ii)



         5.1.7




                  (i)

                  (ii)


   5.2   Master Royalties

          5.2.1




          5.2.2


   5.3




   5.4




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   6.     ROYALTY ACCOUNTING

   6.1




   6.2


    6.3




    7.    COPYRIGHT PROTECTION

    7.1


               Affiliate agrees that it will (where necessary for the legal protection of the
          copyright) register the copyright in each IPR licensed to Affiliate hereunder and
          will register the IPR with all applicable collection agencies.

    7.2




    7.3




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   8.      NOTICES

   Except as otherwise specifically provided herein, all notices hereunder shall be in writing
   and shall be given by personal delivery; registered or certified mail or telegraph (prepaid),
   at the addresses detailed below, or such other address or addresses as may be designated
   by either party and marked for the attention of the Managing. Director with separate
   courtesy copies sent simultaneously for the attention of the Company Secretary and the
   Director of Legal & Business Affairs at the same address.

                   TO PUBLISHER:           The address shown on Schedule 5.

                   TO AFFILIATE:           The address shown on Schedule 6.

   Notices shall be deemed given when mailed or when transmitted by telegraph, except that
   notice of change of address shall be effective only from the date of its receipt.


           OBLIGATIONS OF AFFILIATE

   9.1     Affiliate shall use all reasonable endeavors to exploit the IPR in the Licensed
           Territory for the benefit of Publisher and all third parties connected with them.

    9.2    Affiliate shall use all reasonable endeavors to collect promptly all royalties and fees
           from exploitation of the IPR and shall remit to Publisher Publisher's share thereof
           at the next accounting date pursuant to the terms hereof


   10.     MISCELLANEOUS

    10.1   This agreement contains the entire understanding of the Parties relating to its
           subject matter. No change or termination of this agreement will be binding upon
           either party unless it is made by an instrument signed by an officer of that party. A
           waiver by either party of any provision of this agreement in any instance shall not
           be deemed to waive it for the future. All remedies, rights, undertakings, and
           obligations contained in this agreement shall be cumulative and none of them shall
           be in limitation of any other remedy, right, undertaking, or obligation of either
           party. The captions of the Articles in this agreement are included for convenience
           only and will not affect the interpretation of any provision.

    10.2   Publisher may assign its rights under this agreement in whole or in part.

    10.3   Neither party shall be entitled to recover damages by reason of any breach by the
           other party of its material obligations hereunder, unless such other party has failed
           to remedy such breach within a reasonable time following receipt of notice thereof

    10.4   THIS AGREEMENT HAS BEEN ENTERED INTO IN THE STATE OF NEW


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           YORK, AND THE VALIDITY, INTERPRETATION AND LEGAL EFFECT OF
           THIS AGREEMENT SHALL BE GOVERNED BY THE LAWS OF THE STATE
           OF NEW YORK APPLICABLE TO CONTRACTS ENTERED INTO AND
           PERFORMED ENTIRELY WITHIN THE STATE OF NEW YORK (WITHOUT
           GIVING EFFECT TO ANY CONFLICT OF LAWS PRINCIPLES UNDER NEW
           YORK LAW). THE NEW YORK COURTS (STATE AND FEDERAL), ONLY,
           WILL HAVE JURISDICTION OF ANY CONTROVERSIES REGARDING
           THIS AGREEMENT; ANY ACTION OR OTHER PROCEEDING WHICH
           INVOLVES SUCH A CONTROVERSY WILL BE BROUGHT IN THOSE
           COURTS, IN NEW YORK COUNTY, AND NOT ELSEWHERE. THE PARTIES
           WAIVE ANY AND ALL OBJECTIONS TO VENUE IN THOSE COURTS AND
           HEREBY SUBMIT TO THE JURISDICTION OF THOSE COURTS. ANY
           PROCESS IN ANY SUCH ACTION OR PROCEEDING MAY, AMONG
           OTHER METHODS, BE SERVED BY DELIVERING IT OR MAILING IT, BY
           REGISTERED OR CERTIFIED MAIL, DIRECTED TO THE ADDRESSES
           DETAILED IN CLAUSE 8 OR SUCH OTHER ADDRESS AS EITHER PARTY
           MAY DESIGNATE PURSUANT TO CLAUSE 8. ANY SUCH DELIVERY OR
           MAIL SERVICE SHALL BE DEEMED TO HAVE THE SAME FORCE AND
           EFFECT AS PERSONAL SERVICE WITHIN THE STATE OF NEW YORK.

    10.5.1 This agreement shall not become effective until executed by all proposed Parties
           hereto.




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     AS WITNESS the hands of the Parties the day and year first above written.



     SIGNED by:
     For and on behalf of
     Sony/ATV Music Publishing (Hong ong)
     (duly authorised for each company listed under Hong Kong in Schedule 3)




     SIGNED by:
     For and on behalf of
     Sony/ATV Music Publishing (Hong Kong) - Korea Branch
     (duly authorised for each company listed under Korea in Schedule 3)




     SIGNED by:
     For and on behalf of
     Sony Music Publishing Sdn Bhd
     (duly authorised for each company listed under Malaysia in Schedule 3)




     SIGNED by:
     For and on behalf of
     Sony Music Publishing (Pte.) Limited
     (duly authorised for each company listed under Singapore in Schedule 3)




     SIGNED by:
     For and on behalf of
     Sony Music Publishing (Pte.) Limited, aiwan Branch
     (duly authorised for each company listed under Taiwan in Schedule 3)




     SIGNED by:
     For and on behalf of
     Sony Music Publishing (Japan) Inc.
     (duly authorised for each company listed under Japan in Schedule 3)




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      AS WITNESS the hands of the Parties the day and year first above written.



      SIGNED by:
      For and on behalf of
      Sony/ATV Music Publishing (Hong Kong)
      (duly authorised for each company listed under Hong Kong in Schedule 3)




      SIGNED by:
      For and on behalf of
      Sony/ATV Music Publishing (Hong Kong) - Korea Branch
      (duly authorised for each company listed under Korea in Schedule 3)




      SIGNED by:
      For and on behalf of
      Sony Music Publishing Sdn Bhd
      (duly authorised for each company listed under Malaysia in Schedule 3)




      SIGNED by:
      For and on behalf of
      Sony Music Publishing (Pte.) Limited
      (duly authorised for each company listed under Singapore in Schedule 3)




      SIGNED by:
      For and on behalf of
      Sony Music Publishing (Pte.) Limited, Taiwan Branch
      (duly authorised for each company listed under Taiwan in Schedule 3)




      SIGNED by: 644.4,            fit
      For and on behalf of
      Sony Music Publishing (Japan) Inc.
      (duly authorised for each company listed under Japan in.Schedule 3)




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          SIGNED by:
          For and on behalDof
          SIVI Publishing'Kr. en tina S.R.I.,
          (duly authorised for each company listed under Argentina in Schedule 3)



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          SIGNED by:         /ti
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          SM Publishing (Brut Edicoes Musicas,Limitada
          (duly authorised for e h companylistfi cler Brazil in Schedule 3)




          SIGNED by:
          For and on behalf o
          Editorial SM Publishing Chile Limitada
          (duly authorised for each company listed under Chile in Schedule 3)




          SIGNED by:
          For and on beha of
          SAIVIP Colombia        itada
          (duly authorised for each company listed under Colombia, Costa Rica and Venezuela in
          Schedule 3)




           SIGNED by:
           For and on behalf f
           Sony DADC Mexico S.A. de C.V
           (duly authorised for each company listed under Mexico in Schedule 3)




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        For and on ehalf of
        EMI Music Publishing (Belgium) BVBA                                         c
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        (duly authorised for each company listed under Belgium in Schedule 3)




        SIGNED by:
        For and on behalf o
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        Sony/ATV Music Publishing B.V.
        (duly authorised for each company listed under Netherlands in Schedule 3)




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        For and on he a f of               /afro-         614 /40o L.," a-a- 7
        EMI Music Publishing Services Holland B.V.
        (duly authorised)




        SIGNED by:
        For and on behalf of                                        /1."6.c.x.
        Sony/ATV Music Publishing (Belgium) BY
        (duly authorised)




        SIGNED by: a"
        For and on behalf of
        EMI Music Publishing Services Belgium BVBA
        (duly authorised)




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        (duly auth     for each company listed under France in Schedule 3)




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                (duly authorised for each company lislcd under Germany in Schedule 3)




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               For and on bcha,1 o
               SM Puldishini(11taly) S.ILL
               (duty atithorked for each company listed under Italy in Schedule 1)




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               For and on behalf of
               SIW Publishing (Poland) Sp. Z,o,o.
               (duly authorised for each company listed under Poland, Cncit Republic and Hungary in Schedule
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              (duly authorised fur e '11 company !Wed under Portugal in Schedule 3)




              SIGNI30
              For and on behalfo
              SIVI Publishing (Iberia) S,R.L.
              (duly authorised for each company listed under Spain in Schedule 3)



              SIGNED by:. ,
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              For mut Oft behalf of
              SM Publishing Stamilitneia All
              (duly authorised for each company listed under Sweden, Dertimaii, Finland and Norway in
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                 Sony/ATV Music Publishing (Australia) Ply Limited
                 (duly authorised for each company listed under AllStralle In Schedule 3)




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                For and oh behalf of
                SM Publishing South Africa (Proprietar)') Limited                •
                (duly authorised for each company listed under South Atilea in Schedule 3




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                (duly authorised for each company Iisteel under United Kingdom in Schedule




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                For and on behat o
                Sony/ATV M i to Publishing Europe Limited
                (duly authorised for each company listed under Europe in Schedule 3)




                SIGNED by:
                Found on behalf of
                Sony/ATV Music Publishing °midi° Incorporated
                (duly authorised for each company listed sunder Canada in Schedule 3)




                SIGNED by:
                For and on ()chat f of
                Sony/ATV Music Publishing LLC
                (duly authorised for each company listed under United Stales of Atheriea, China, Greece
                and India in Schedule 3)




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         SIGNED by:
         For and on behalf of
         Sony/ATV Music Publishing (Australia) Pty Limited
         (duly authorised for each company listed under Australia in Schedule 3)




         SIGNED by:
         For and on behalf of
         SM Publishing South Africa (Proprietary) Limited
         (duly authorised for each company listed under South Africa in Schedule 3)




         SIGNED by:
         For and on behalf of
         SM Publishing (UK) Limited
         (duly authorised for each company listed under United Kingdom in Schedule 3)




         SIGNED by:
         For and on behalf of
         Sony/ATV Music Publishing Europe Limited
         (duly authorised for each company listed under Europe in Schedule 3)




         SIGNED by:
         For and on behalf of
         Sony/ATV Music Publishing (Canada) Incorporated
         (duly authorised for each company listed under Canada in Schedule 3)




         SIGNED by:
         For and on behalf of
         Sony/ATV Music Publishing LLC
         (duly authorised for each company listed under United States of America, China, Greece
         and India in Schedule 3)




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                                        SCHEDULE 1

                                SUB PUBLISHING RIGHTS

   Sub-publishing Rights subject always to the same being available and to clause 2.3 of this
   Agreement all rights of copyright and related rights in each of the Compositions whether
   now known or in the future created owned, controlled, administered or managed by the
   Publisher for the Licensed Territory, including all vested and contingent rights of whatever
   nature including but without limitation the rights specified below:

   (a)     The exclusive rights to use and license mechanical and electrical transcriptions
           (including in audiovisual devices for home use) of the Compositions for sale to,
           and use by, the general public in the Licensed Territory and to collect the royalties
           and fees to become payable from the sale thereof in the Licensed Territory.

   (b)     The exclusive right to perform publicly and license public performance of the
           Compositions in the Licensed Territory and to collect royalties and fees payable
           by reason thereof. The exclusive right in the Licensed Territory to license and to
           broadcast and transmit by air, cable, satellite, wire and wireless the Compositions
           and to make the Compositions available by any other means.

   (c)     The exclusive right to print, reproduce and multiply copies of the Compositions
           and to publish distributes and sell same in the Licensed Territory.

   (d)     The exclusive right in the Licensed Territory to make any and all arrangements
           and adaptations of any and/or all of the Compositions of any kind and nature, to
           procure any lyric thereto or a translation of the original lyrics thereof, or of any
           new lyric thereto, to change the title thereof, and to do every other act and thing
           in respect of any and/or all of the Compositions to make the same suitable and
           proper for publication in the Licensed Territory.

   (e)     The exclusive right to use and allow others to use in the Licensed Territory the
           name(s), image(s), likeness(es) and biographical material concerning any and all
           songwriter(s) of Compositions for advertising and trade purposes in connection
           with the Compositions (whether or not such Compositions are modified in whole
           or in part) and in advertising and publicity for Affiliate.

   (f)      The non-exclusive right to authorize the non-exclusive use in the Licensed
            Territory of the Compositions in theatrical motion pictures, television films, TV
            series, and/or in   other audiovisual productions, videogrammes, radio ads, TV
            spots, any other kind of commercials and other original works to which the
            Compositions may be incorporated and originating in the Licensed Territory.




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                                         SCHEDULE 2

                                       MASTER RIGHTS

   Without limiting the generality of the grant of rights in clause 2 of this Agreement Affiliate
   shall have the exclusive rights, throughout the Licensed Territory:

   (a)    to manufacture records, in any form and by any method now or hereafter known,
          derived from such Master Recordings;

   (b)    to sell, transfer or otherwise deal in the same under any trademarks, trade     names
          and labels, or to refrain from such manufacture, sale and dealing;

   (c)    to reproduce, adapt, transmit, distribute, import, authorise the rental of,
          communicate, make available (including but not limited to by means of Digital
          Rights) and otherwise use such Master Recordings in any medium and in any
          manner;

   (d)    to perform publicly, exhibit, display publicly, communicate, broadcast or to permit
          the public performance, exhibition, display, broadcast or communication of the
          Master Recordings by means of radio broadcast, cable transmission, satellite
          transmission, television broadcast, Digital Rights or any other method now or
          hereafter known, and to collect any income relating to such performance,
          exhibition, display, broadcast or communication in the Licensed Territory; and

   (e)    the exclusive right to reproduce, print, publish, and disseminate in any medium, the
          names, portraits, pictures, and likenesses of each artist whose performance is
          contained in, and all other persons performing services in connection with the
          Master Recordings made therefrom, and biographical material concerning them, as
          news or information, for purposes of trade and for advertising purposes, provided
          that the Publisher has furnished to the Affiliate for such use or that Publisher has
          approved the same for such use.

          the non-exclusive right to authorize the non-exclusive use in the Licensed Territory
          of the IPR in theatrical motion pictures, television films, TV series, and/or in other
          audiovisual productions, videogrammes, radio ads, TV spots, any other kind of
          commercials and other original works to which the, IPR may be incorporated and
          originating in the Licensed Territory.




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                               SCHEDULE 3
                       COMPANIES IN EACH TERRITORY

   ARGENTINA



   AUSTRALIA




   BELGIUM




   BRAZIL




   CANADA




    CHINA



    CHILE



    COLOMBIA


    COSTA RICA



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           SCHEDULE 3 - COMPANIES IN EACH TERRITORY continued

   CZECH REPUBLIC


   DENMARK



   FINLAND


   FRANCE




   GERMANY




    GREECE




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           SCHEDULE 3 - COMPANIES IN EACH TERRITORY continued

   HONG KONG




   HUNGARY


   INDIA


   ITALY




   JAPAN




   KOREA




   MALAYSIA



    MEXICO




    NETHERLANDS




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           SCHEDULE 3 - COMPANIES IN EACH TERRITORY continued



   NORWAY



   POLAND



   PORTUGAL



   SINGAPORE




   SOUTH AFRICA



   SPAIN




    SCANDINAVIA




    TAIWAN




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           SCHEDULE 3 - COMPANIES IN EACH TERRITORY continued

   UNITED KINGDOM

   Sony/ATV Music Publishing (UK) Limited

   EMI Music Publishing Limited




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   UNITED KINGDOM continued




   EUROPE




   UNITED STATES OF AMERICA
   Sony/ATV Music Publishing LLC    (Main company)




   EMI Blackwood Music Inc.




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   UNITED STATES OF AMERICA continued




   EMI April Music Inc.




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   UNITED STATES OF AMERICA continued




   VENEZUELA




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                         COMPANIES PER CATALOGUE

              EMI MUSIC PUBLISHING list of Companies ("EMI MP")




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                              SCHEDULE 4
          EMI MUSIC PUBLISHING list of Companies ("EMI MP") continued




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          EMI MUSIC PUBLISHING list of Companies ("EMI MP") continued




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         EMI MUSIC PUBLISHING list of Companies ("EMI MP") continued




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         EMI MUSIC PUBLISHING list of Companies ("EMI MP") continued




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                            SCHEDULE 4
         EMI CATALOGUE PARTNERSHIP List of Companies ("EMI CAT")




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SCHEDULE 5 - CONTRACTING PARTY AS PUBLISHER


Country      Main Publisher Company         Registered Address   Territory Granted                                    Currency
             (see relevant territory in
             Schedule 3 for all companies
             identified as Publisher)
                                                                                                                      ARS $
Argentina

                                                                                                                      AUD $


 Australia



                                                                                                                      EUR E
 Belgium

                                                                                                                      EUR E
 Belgium

                                                                                                                      BRL RS

 Brazil


                                                                                                                      CAN $
 Canada

                                                                                                                      CLP $
 Chile




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                                                                                                    COP $

Colombia


                                                                                                    EUR E


France



                                                                                                    EUR E
Germany

                                                                                                    HKD HK$

Hong Kong


                                                                                                    EUR E
Italy

                                                                                                    YEN ¥

Japan


                                                                                                    KRW W

Korea




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                                                                                                      MYR RM
Malaysia

                                                                                                      MXN $
Mexico

                                                                                                      EUR E
Netherlands

                                                                                                      PLN zl
Poland

                                                                                                      SGD S$
Singapore

                                                                                                      ZAR R

South
Africa


                                                                                                      EUR E
Spain

                                                                                                      EUR E
Sweden

                                                                                                      TWD NT$
Taiwan




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                                                                        WORLD excluding The United Kingdom (incl. Isle of Man, Channel Islands), Eire                GBP £
                                                                        (Republic of Ireland), Anguilla, Ascension Island, Bahamas, Bermuda, British Antarctic
                                                                        Territory, British Indian Ocean Territory, British Virgin Islands, Cayman Islands, Cyprus,
                                         30 Golden Square, London       Falkland Islands, Gibraltar, Malta, Pitcairn Islands, South Georgia, South Sandwich
United      SM Publishing (UK) Limited   W1F 9LD                        Islands, St. Helena, Tristan da Cunha, Turks and Caicos Islands, Montserrat, Antigua and
Kingdom                                                                 Barbuda, Barbados, Central and Southern Line Islands, Dominica, Grenada, Guyana,
                                                                        Jamaica, Redonda, St. Kitts-Nevis, St. Lucia, St. Vincent, Trinidad and Tobago and other
                                                                        countries, territories and islands not listed elsewhere in this Annex.

                                                                                                                                                                     GBP £



UK
(Europe)




                                                                        WORLD excluding The United States of America (incl. its territories, dependencies and        US S
                                         a Delaware Limited Liability   possessions), Guam, U.S. Virgin Islands, Puerto-Rico, Greece, Belize, China
                                         Company, with its principal
                                         place of business at 550
United
            Sony/ATV Music Publishing    Madison Avenue, New
States of
            LLC                          York, New York 10022,
America
                                         United.States of America
                                                                        With effect from 1 January 2020 the territories of India, Nepal, Bangladesh, Afghanistan,
                                                                        Bhutan, Maldives, Pakistan and Sri Lanka are included in the above exclusion list




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SCHEDULE 6 - CONTRACTING PARTY AS AFFILIATE

Rights granted are either - Exclusive, Non Exclusive or Not Included

 Country        Main Affiliate            Registered Address           Licensed Territory                              Rights Granted to Affiliates
                Company                                                                                   Sub           Synch           SOLAR         Master
                (see relevant territory                                                                   Publishing    Rights —       Digital        Digital
                in Schedule 3 for all                                                                     Rights -      Schedulel      Rights         Rights
                companies identified                                                                      Schedule 1    (f)
                as Affiliates, where                                                                      (a) to (e)
                applicable)                                                                               And
                                                                                                          Master
                                                                                                          Rights -
                                                                                                          Schedule 2
 Argentina




 Australia




 Belgium




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Belgium




Belgium
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Brazil




Canada



Chile




Colombia




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France




Germany




Hong Kong




Italy




Japan




Korea




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Malaysia




Mexico




Netherlands




Netherlands
(Synch)



Poland




Singapore




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South
Africa




Spain



Sweden



Taiwan


                                                   The United Kingdom (incl. Isle of Man, Channel Islands), Eire        Exclusive   Non-        Not        Non-
                                     _             (Republic of Ireland), Anguilla, Ascension Island, Bahamas,                      Exclusive   Included   Exclusive
                                                   Bermuda, British Antarctic Territory, British Indian Ocean
          SM Publishing (UK)   30 Golden Square,   Territory, British Virgin Islands, Cayman Islands, Cyprus,
United    Limited              London W1F 9LD      Falkland Islands, Gibraltar, Malta, Pitcairn Islands, South
Kingdom                                            Georgia, South Sandwich Islands, St. Helena, Tristan da Cunha,
                                                   Turks and Caicos Islands, Montserrat, Antigua and Barbuda,
                                                   Barbados, Central and Southern Line Islands, Dominica, Grenada,
                                                   Guyana, Jamaica, Redonda, St. Kitts-Nevis, St. Lucia, St. Vincent,
                                                   Trinidad and Tobago and other countries, territories and islands
                                                   not listed elsewhere in this Annex.




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UK
(Europe)




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                                 a Delaware Limited        and possessions), Guam, U.S. Virgin Islands, Puerto-Rico,                      Exclusive   Exclusive   Exclusive
                                 Liability Company, with   Greece, Belize, China; and                                                                             for
            Sony/ATV Music       its principal place of                                                                                                           territory of
            Publishing LLC       business at 550 Madison                                                                                                          World
United                           Avenue, New York, New
States of                        York 10022, United
America                          States of America
                                                           With effect from 1 January 2020 the territories of India, Nepal,
                                                           Bangladesh, Afghanistan, Bhutan, Maldives, Pakistan and Sri
                                                           Lanka are included.




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                   EXHIBIT 11
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